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            United States District Court
          for the Western District of Texas
                             El Paso Division
   LEAGUE OF UNITED LATIN                 §
   AMERICAN CITIZENS, et al.,             §
                                          §
   Plaintiffs,
                                          §
   v.                                     §     No. 3:21-CV-259-DCG-JES-JVB
                                          §               [Lead Case]
   GREG ABBOTT, in his official           §
   capacity as Governor of the State of   §
   Texas, et al.,                         §
   Defendants.                            §
                                          §

   ROY CHARLES BROOKS, et al.,            §
                                          §
   Plaintiffs,
                                          §
   v.                                     §
                                          §      No. 1:21-CV-991-LY-JES-JVB
   GREG ABBOTT, in his official           §          [Consolidated Case]
   capacity as Governor of the State of   §
   Texas, et al.,                         §
   Defendants.                            §


                    PRELIMINARY-INJUNCTION
                 MEMORANDUM OPINION AND ORDER

          This case concerns a district of the Texas Senate centered in southern
   Tarrant County. Until recently, Senate District (“SD”) 10 was contained entirely
   within Tarrant County. But as part of the recent redistricting, the Texas
   Legislature redrew the district, removing portions of Tarrant County and adding
   seven rural counties. The new district is significantly more Republican and




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   significantly more Anglo.

          Plaintiffs seek a preliminary injunction barring Texas from using the newly
   enacted map in the 2022 election cycle. Though Plaintiffs have also alleged that the
   new map has discriminatory effects that violate Section 2 of the Voting Rights Act
   (“VRA”), they do not press that theory in seeking this injunction. Instead, they
   advance two overlapping theories: The legislature engaged in intentional dilution
   of minority voting power, and it engaged in racial gerrymandering.

          This three-judge Court conducted a four-day hearing involving thirteen
   witnesses and 175 exhibits to assess Plaintiffs’ request for preliminary relief. As
   explained below, Plaintiffs have not made the showings necessary to entitle them to
   a preliminary injunction.

          Most importantly, they have not demonstrated a likelihood of success on
   the merits—although the new senate map may disproportionately affect minority
   voters in Tarrant County, and though the legislature may at times have given
   pretextual reasons for its redistricting decisions, Plaintiffs have pointed to no
   evidence indicating that the legislature’s true intent was racial. On the remaining
   preliminary-injunction factors, Plaintiffs have demonstrated that they would suffer
   an irreparable injury, but they have failed to demonstrate that either the balance of
   equities or the public interest weighs in their favor.

          Because Plaintiffs have failed to carry their burden, the Court DENIES a
   preliminary injunction. Also, having considered Plaintiffs’ Rule 65(a)(2) motion to
   consolidate these preliminary findings with a final merits determination, the Court
   DENIES that motion as well.




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   I. BACKGROUND

   A. Senate District 10

           SD 10 is one of thirty-one districts that elect members of the Texas Senate.
   Benchmark SD 10 (that is, the district as it existed per the 2010 census) was entirely
   within Tarrant County, as shown below:

                                          SENATE




           The new SD 10, however, is, to say the least, more geographically
   dispersed—in addition to a reduced portion of Tarrant County, in the northeast
   corner of the district, the district includes all or part of seven less-populous counties
   to the south and west. The new SD 10 is shown below:




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        The district is currently represented by Senator Beverly Powell, a
   Democrat, and has experienced partisan swings for at least two decades. It was once
   a Republican bastion, and initially remained one after the 2001 redistricting cycle,
   when it was redrawn to roughly its benchmark borders. But in 2008, it elected
   Senator Wendy Davis, a Democrat. The seat then flipped back to Republicans in
   2014, and flipped yet again in 2018, when Senator Powell was elected. The
   district’s recent electoral history is summarized in Defendants’ Exhibit 17:


                                          R aw D ata*

             Year                     R                  D                    Margin (R)
             2002                 58.7                  39.9                      18.8
             2004                 59.3                  40.1                      19.2
             2008                 47.5                  49.9                      -2.4
             2012                 48.9                  51.1                      -2.2
             2014                 52.8                  44.7                      8.1
             2018                 48.2                  51.7                      -3.5

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           In addition to its partisan performance, benchmark SD 10 is notable, for this
   Court’s purposes, for its racial and ethnic makeup. According to the 2015–2019
   ACS,1 a source credited by both parties, benchmark SD 10 is 61.5% minority and
   39.5% Anglo; more specifically, it is 32.2% Hispanic, 21.5% Black, and 5.7% Asian.
   Its voting age population (“VAP”) is 43.9% Anglo, 28.8% Hispanic, 20.3% Black,
   and 5.5% Asian. Its citizen voting age population (“CVAP”) is 53.9% Anglo, 20.4%
   Hispanic, 20.9% Black, and 3.6% Asian. Pls’ Ex. 44 at 4. The district was thus not
   majority-minority by CVAP according to the five-year ACS figures, but the parties
   dispute whether it may have since become majority-minority. The Court returns
   to that dispute below.

           Plaintiffs’ Exhibits 66 and 68 illustrate the Hispanic (left) and Black (right)
   population distribution, measured by VAP, overlaid on the benchmark map of
   Tarrant County:


                                                                                        0-9.9

                                                                                       10-29.9

                                                                                       30-39.9



                                                                                 •
                                                                                       40-49.9

                                                                                       50-59.9

                                                                                       60-69.9




           1
             ACS stands for “American Community Survey.” It is an annual report the
   Census Bureau produces by sampling roughly 2% of all American households. Though the
   report is less thorough than the decennial census, which seeks to survey all American
   households, its annuality keeps it more timely. The ACS also collects data, such as
   citizenship status, that the decennial census does not. Five-year figures like these combine
   the results of five consecutive ACS reports, producing a result that is less current than the
   most recent ACS but has a sample size five times larger. R. at 2:118–19, 121.




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           As the Court noted above, the new SD 10, compared to the benchmark, is
   both significantly more Republican and significantly more Anglo. The counties
   appended to Tarrant County are populated mostly by rural Anglos who tend by a
   large margin to vote Republican. Pls.’ Ex. 44 at 10. With those voters added to the
   district and many in the Fort Worth area removed, the district’s 2020 presidential
   election result would have been quite different. President Biden won 53.1% of the
   vote in the benchmark district, but President Trump would have won 57.2% under
   the new map. Defs.’ Ex. 11, 16. In terms of race, the new district is still only 49%
   Anglo, compared to 28.2% Hispanic, 17.7% Black, and 3.4% Asian. But Anglos
   constitute 53.3% of VAP and 62.2% of CVAP. Pls.’ Ex. 44 at 6. Plaintiffs’ Exhibit
   44 provides a visualization of the Anglo population’s distribution in the new
   district:




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   B. Previous Litigation

          SD 10 has been subject to redistricting litigation before. Most notably for
   our purposes, the district was the sole state senate district at issue in a 2012 decision
   by the U.S. District Court for the District of Columbia. See Texas v. United States,
   887 F. Supp. 2d 133, 162 (D.D.C. 2012) (three-judge court), vacated on other grounds,
   570 U.S. 928 (2013) (hereinafter “Texas Preclearance Litig.”). That court refused




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   to allow Texas to redraw SD 10 along lines similar to the current plan. See
   id. at 163–66.

           That case was decided under the “preclearance” framework established by
   Section 5 of the VRA. Under that framework, which has since been invalidated, see
   Shelby County v. Holder, 570 U.S. 529, 557 (2013), certain states, including Texas,
   were required to seek preapproval for changes to their election rules, including
   redistricting. Importantly, the states seeking preclearance bore the burden to show
   that their proposed changes were nondiscriminatory. See Texas Preclearance Litig.,
   887 F. Supp. 2d at 163.

          In the 2012 decision, the three-judge district court concluded that Texas
   had not carried its burden to show that the redrawing of SD 10 was enacted without
   discriminatory intent. Id. at 166. In reaching that conclusion, the court considered
   emails, procedural omissions, and differing treatment of senators from majority-
   minority districts, suggesting that supporters of the redrawing acted secretively and
   were not in fact open to outside input on the new senate map. See id. at 163–66.
   That court’s decision applied a legal standard different from the one at issue here,
   and this Court, of course, is not bound by its findings of fact. But the decision was
   public knowledge, and it would plausibly have been known to many of those who
   served in the Texas Senate when it was decided.

           On the other hand, SD 10 featured less prominently in the series of
   redistricting cases heard last decade by a different three-judge court within this
   district. Notably, the district was not at issue in Perez v. Abbott, 253 F. Supp. 3d 864
   (W.D. Tex. 2017) (three-judge court). That decision concerned Texas’s federal
   congressional map rather than its state senate map. See id. at 873. Thus, though
   the court found impermissible racial discrimination in the drawing of congressional
   districts around Fort Worth, see id. at 938, it did not address SD 10, and its decision
   is not part of SD 10’s litigation history.

   C. The 2021 Redistricting Process

           The details of Texas’s redistricting process are key to this Court’s analysis
   of whether the legislature acted with discriminatory intent. So the Court revisits




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    that process below. This introductory section is only a high-level summary.

           The Texas Legislature ordinarily conducts redistricting during its regular
    session immediately following the release of the U.S. Census data. But this year,
    the COVID–19 pandemic delayed that release by several months. So on
    September 7, 2021, which was promptly after the census data was made public,
    Governor Abbott called a special thirty-day session of the legislature to consider
    reapportionment beginning on September 20. Defs.’ Ex. 25.

              But legislators had been discussing potential district lines long before that.
    Of particular note are three meetings between the staffs of Democratic Senator
    Powell, who represents SD 10, and Republican Senator Joan Huffman, who chaired
    the redistricting committee.

           The first meeting occurred on February 12, 2020, between staffers for both
    senators. Pls.’ Ex. 22 at 1. Rick Svatora, deputy chief of staff to Senator Powell,
    took handwritten notes. Id. According to those notes, Sean Opperman, chief of
    staff to Senator Huffman, told his counterparts to expect “very little change”
    because SD 10 was already close to ideal size. Pls.’ Ex. 23 at 2.

              The second meeting, which included both senators and members of their
    staffs, occurred on November 19, 2020. Pls.’ Ex. 6 at 2. There, Garry Jones, chief
    of staff to Senator Powell, recalls that either Opperman or Senator Huffman
    acknowledged that SD 10 was majority-minority. Id.

              The third meeting was September 14, 2021, after Governor Abbott had
    called the special session, between both senators and staff, including Anna Mackin,
    special counsel to Senator Huffman and an attorney with experience representing
    Texas in redistricting litigation. Id. at 3. At that meeting, Senator Huffman and her
    staff revealed their plans to redraw SD 10 by adding several rural counties. Pls.’ Ex.
    2 at 2.

              Senator Powell objected and, as part of her argument against the plan,
    handed the participants copies of maps of the district shaded to indicate the
    distribution of racial groups. Id. at 2–3. As she did so, Senator Powell read aloud
    the headers of each map; Senator Huffman looked at each map and asked that all



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    present initial and date the maps, which they did. Id. at 3. Jones recalls Mackin’s
    remarking that the conversation was making her “uncomfortable.” Pls.’ Ex. 6 at 4.
    In addition to those meetings, Senator Powell and her staff sent various letters and
    emails to Senator Huffman and her staff, and to the Senate more generally, detailing
    the racial implications of the proposed changes to SD 10. Pls.’ Ex. 11.

             Senator Huffman, meanwhile, insisted that she was not considering race at
    all in her redistricting decisions. During an October 4 hearing, she remembered the
    September 14 meeting differently from the way Plaintiffs describe it—she claimed
    that she had looked at the racially shaded maps for “less than a second” and that
    when she realized each had racial data, she “turned it over flat and . . . said, ‘I will
    not look at this.’” Pls.’ Ex. 41 at 17.

          Senator Powell and Jones expressly contradict that narrative. Similarly,
    Opperman responded to an email from Jones to say that he had closed the
    attachments immediately after realizing they contained racial data. Pls.’ Ex. 12.
    Senator Huffman admitted she was aware that “there are minorities that live all
    over this state” but insisted she “blinded [her]self to that as [she] drew these
    maps.” Pls.’ Ex. 41 at 21. After drawing the maps, she ensured that they underwent
    a legal compliance check to avoid violating the VRA. Id. at 8.

           Senator Huffman’s office then released the full Senate plan on
    September 18. Pls.’ Ex. 15. But she then announced amendments significantly
    affecting the shape of SD 10 on September 23, the day before a scheduled public
    hearing on the Senate plan. Defs.’ Ex. 58 at 4–5. During that hearing, on
    September 24, Senator Huffman stated,

           My goals and priorities in developing these proposed plans include
           first and foremost abiding by all applicable law, equalizing
           population across districts, preserving political subdivisions and
           communities of interest when possible, preserving the cores of
           previous districts to the extent possible, avoiding pairing incumbent
           members, achieving geographic compactness when possible, and
           accommodating incumbent priorities also when possible.

    Id. at 2. Plaintiffs draw attention to the absence of “partisan advantage” from her




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    list of considerations. At that hearing and subsequent ones, many members of the
    public testified, including prominent individuals from benchmark SD 10 who
    complained of the reduction in minority voting strength. Pls.’ Ex. 16 at 2–20.

           On September 28, the committee rejected an amendment that would have
    restored benchmark SD 10. Pls.’ Ex. 54 at 10–13. Meanwhile, Senator Huffman
    claimed that “addressing partisan considerations” had been one of her redistricting
    criteria. Defs.’ Ex. 62 at 2. Later, during an October 4 floor debate, Senator
    Huffman described the race-neutral process related above and again listed the
    criteria she used—without mentioning partisanship. Pls.’ Ex. 41 at 7. But there,
    Senator Powell was asked by a fellow Democrat, “Do you believe that your district
    is being intentionally targeted for elimination as it being a Democratic trending
    district?” She answered, “Absolutely, absolutely.” Pls.’ Ex. 41 at 49.

           The Senate passed Senator Huffman’s plan as amended, but one
    Republican voted against it. Id. at 66. That was Senator Kel Seliger, who chaired
    the Senate redistricting committee in the last round of districting but who is now at
    odds with many in his own party. Defs.’ Ex. 40. Senator Seliger explains his choice
    by claiming that the stated redistricting criteria (not including partisanship) were
    “pretext” and that “it was obvious to [him]” that the redrawing of SD 10 violated
    the VRA and the Constitution. Pls.’ Ex. 1 at 2–3. Senator Seliger later clarified,
    however, that his main objection to SB 4 concerned the redrawing of his own
    district—SD 31—rather than SD 10. R. at 4:48–49. Meanwhile, three
    Democrats—Senators Hinojosa, Lucio, and Zaffirini—voted for the plan but
    signed a statement claiming that the redrawing of SD 10 violated the VRA. Pls.’
    Ex. 40 at 5–6.

           SB 4 proceeded to the House, where it passed on a compressed time
    schedule, despite the objections of various Democratic representatives. Defs.’
    Ex. 60 at 237–56, 279. Defendant Governor Abbott signed the bill into law.

    D. Procedural History

           This action is one of several consolidated before this three-judge court. The
    first was filed on October 18, 2021, by the League of United Latin American




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    Citizens (LULAC), along with other organizations. Dkt. 1. The LULAC plaintiffs
    are individual voters and a coalition of organizations that seek an injunction against
    the maps for the State House, State Senate, Congress, and State Board of
    Education. Dkt. 1. The LULAC plaintiffs argue that the newly enacted plans would
    violate their civil rights by unlawfully diluting the voting strength of Hispanics. Dkt.
    1. Because the suit challenges the apportionment of congressional and state
    legislative districts, a three-judge court was convened in that action under 28 U.S.C.
    § 2284(b). Dkt. 3.

            This case was filed on November 3 in a separate division of the same federal
    district. Brooks v. Abbott, No. 1:21-cv-991 (W.D. Tex.). On November 19, the Court
    issued an order consolidating LULAC with six additional cases,2 including the case
    involving the Brooks plaintiffs’ challenge to SD 10. Dkt. 16.

            Meanwhile, on November 15, Texas filed its first motion to dismiss the
    LULAC plaintiffs, in part arguing that Section 2 of the VRA does not confer a
    private cause of action. Dkt. 12 at 16. Then, on November 19, Texas moved to
    dismiss another group of plaintiffs, including the organization Voto Latino, again
    arguing in part that Section 2 of the VRA does not confer a private cause of action.
    Dkt. 22 at 1.

            The Brooks plaintiffs moved for a preliminary injunction as to SD 10 on
    November 24. Dkt. 39. They contend that the legislature unlawfully broke up a
    minority crossover district. Id. at 3–5. Texas moved to dismiss the Brooks plaintiffs’
    claims on November 29, maintaining that the complaint did not allege facts
    sufficient to show the legislature’s discriminatory intent, Dkt. 43 at 10–13, or facts
    to maintain a disparate-impact claim, id. at 2–10.

            On November 30, the United States submitted a Statement of Interest


            2
               Those cases are (1) Wilson v. Texas, No. 1:21-CV-943 (W.D. Tex.); (2) Voto
    Latino v. Scott, No. 1:21-CV-965 (W.D. Tex.); (3) MALC v. Texas, No. 1:21-CV-988 (W.D.
    Tex.); (4) Brooks v. Abbott, No. 1:21-CV-991 (W.D. Tex.); (5) Texas State Conference of the
    NAACP v. Abbott, No. 1:21-CV-1006 (W.D. Tex.); and (6) Fair Maps Texas Action
    Committee v. Abbott, No. 1:21-CV-1038 (W.D. Tex.).




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    under 28 U.S.C. § 517, expressing its support for the availability of a private cause
    of action to enforce Section 2 of the VRA. Dkt. 46 at 1. On December 3, this Court
    partially denied Texas’s motion to dismiss the LULAC plaintiffs for want of a
    private cause of action, concluding that, under current caselaw, Section 2 includes
    a private cause of action. Dkt. 58 at 1–2.

          The Court held the Brooks plaintiffs’ motion for a preliminary injunction in
    abeyance on December 2 to conduct a scheduling conference, Dkt. 56 at 1–2, which
    occurred on December 7, Dkt. 76. That same day, the court set a briefing schedule
    for the Brooks plaintiffs’ motion for a preliminary injunction. Dkt. 70 at 1–2. The
    following day, the Court set a hearing date for the motion to be on January 25, 2022.
    Dkt. 77.

         The Court dismissed the complaint of another plaintiff, Damon Wilson, on
    December 3, 2021, for lack of standing. Dkt. 63 at 1–3. Wilson tried to amend his
    complaint on December 13. Dkt. 86. Because he failed to request the Court’s leave
    before filing an amended complaint and because he would not have been able to
    establish a concrete injury-in-fact, the Court struck the amendment and dismissed
    his action on February 8, 2022. Dkt. 187 at 5.

        Texas moved to dismiss two more complaints, those of the MALC and
    NAACP plaintiffs, on December 9. Dkts. 80, 82. The next day, the Court
    consolidated United States v. Texas, No. 3:21-CV-299 (W.D. Tex.), with the present
    case. Dkt. 83. On December 15, the Court consolidated Fischer v. Abbott, No. 3:21-
    CV-306 (W.D. Tex.), with the present case. Dkt. 92.

           After receiving proposed scheduling orders from the parties, the Court set
    the scheduling order for the consolidated cases on December 17. Dkt. 96. A final
    trial on the merits was set for September 27, 2022. Dkt. 96 at 4. The scheduling
    order was amended on December 27, 2021, with the trial date changed to
    September 28, 2022. Dkt. 109.

            Texas objected to several of the Brooks plaintiffs’ preliminary-injunction
    exhibits on December 20, 2021. Dkt. 103. The Brooks plaintiffs timely filed their
    witness and exhibit lists as well as their designation of expert witnesses on January 7,




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    2022. Dkts. 129–131. Texas timely filed its witness and exhibit lists and designation
    of expert witnesses on January 14. Dkts. 140–142. Both sides filed amended exhibit
    lists on January 24. Dkts. 157, 160. The next day, the Brooks plaintiffs filed a second
    amended list, and the day after that, Texas filed a second amended list. Dkts. 162,
    167.

          The Court denied Texas’s motion to dismiss the Brooks plaintiffs’
    complaint on January 18, holding that they had pleaded plausible discriminatory-
    effects and discriminatory-intent claims. Dkt. 144 at 1–2.

           The parties in the other consolidated actions announced that they would not
    pursue a preliminary injunction, leaving the Brooks plaintiffs as the only parties
    seeking that relief. The Court held a hearing on the motion for a preliminary
    injunction from January 25 until January 28. Dkts. 183–186. The Court heard
    testimony from, among others, two expert witnesses from Plaintiffs, one expert
    witness from Defendants, and Senators Powell and Huffman. During the hearing,
    Plaintiffs argued that, if Senator Huffman testified, she would entirely waive her
    legislative privilege. R. at 5:147–48. Defendants replied that she would not testify
    as to privileged conversations, but only as to public statements. R. at 5:149–51. The
    Court determined on the record that she would not categorically waive her privilege
    by testifying. R. at 5:152.

           Meanwhile, the parties raised other objections to one another’s exhibits but
    eventually withdrew all but one of those objections. R. at 8:4–5. The one exception
    was Plaintiffs’ Exhibit 102, a transcript of text messages that Defendants contended
    was hearsay, had not been properly authenticated, and lacked relevance. Id. at 8:4.
    The Court admitted that exhibit but noted that it would assign it due weight in light
    of those objections. R. at 9:4.

           On February 1, 2022, the Court denied Plaintiffs’ motion for a preliminary
    injunction in a brief order. Dkt. 176 at 3. The Court issued that order promptly to
    permit the March 1, 2022, primary to be conducted on schedule as designated by
    statute. The Court promised to state its reasoning “in a forthcoming opinion,” id.,
    and does so in the instant memorandum opinion and order.




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    II. GOVERNING LAW

    A. Standard of Review

            A plaintiff seeking a preliminary injunction must make four showings:
    “[1] that he is likely to succeed on the merits, [2] that he is likely to suffer
    irreparable harm in the absence of preliminary relief, [3] that the balance of equities
    tips in his favor, and [4] that an injunction is in the public interest.” Winter v.
    NRDC, Inc., 555 U.S. 7, 20 (2008). In evaluating those requirements, this Court is
    mindful that preliminary injunctions are “extraordinary remed[ies] never awarded
    as of right.” Id. at 24. Thus, Plaintiffs have the burden of persuasion and are
    required to “clearly carr[y]” it “on all four requirements.” Planned Parenthood of
    Hous. & Se. Tex. v. Sanchez, 403 F.3d 324, 329 (5th Cir. 2005) (quotation omitted).3

    B. Intentional Vote Dilution and Racial Gerrymandering

            Plaintiffs advance two legal theories to demonstrate likelihood of success on
    the merits: (1) Defendants have engaged in intentional vote dilution; and
    (2) Defendants have engaged in racial gerrymandering. Plaintiffs do not press, at
    least at this stage, their theory that Defendants have committed a purely statutory
    violation of Section 2 of the VRA. Understanding the implications of that choice
    requires a brief review of voting rights caselaw.

            The VRA was enacted in 1965. Among its several provisions was Section 5,
    which has since been invalidated, and Section 2, which is most relevant for our

            3 A recent Supreme Court concurrence has suggested            that a higher showing might
    be required where, as here, a plaintiff seeks to enjoin an impending election. Under that
    test, Plaintiffs would have to establish that “(i) the underlying merits are entirely clearcut
    in favor of the plaintiff; (ii) the plaintiff would suffer irreparable harm absent the injunction;
    (iii) the plaintiff has not unduly delayed bringing the complaint to court; and (iv) the
    changes in question are at least feasible before the election without significant cost,
    confusion, or hardship.” Merrill v. Milligan, 142 S. Ct. 879, 881 (2022) (Kavanaugh, J.,
    concurring). But that test is not the law, and even if it were, it would not be necessary to
    apply it here because the Court concludes that Plaintiffs have failed to make the more
    traditional showing. Thus, the Court applies the standard four preliminary-injunction
    requirements.




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    purposes. As initially enacted, that section provided that “No voting qualification
    or prerequisite to voting, or standard, practice, or procedure shall be imposed or
    applied by any State or political subdivision to deny or abridge the right of any
    citizen of the United States to vote on account of race or color.” Voting Rights Act
    of 1965, Pub. L. No. 89-110, § 2, 79 Stat. 437, 437. In City of Mobile v. Bolden, a
    plurality read that language as having “an effect no different from that of the
    Fifteenth Amendment.” 446 U.S. 55, 61 (1980) (plurality opinion). And that was
    a problem for voting-rights plaintiffs, because facially neutral state actions violate
    the Fifteenth Amendment “only if motivated by a discriminatory purpose.”
    Id. at 62.

            Partly in response to that decision, Congress amended Section 2 in 1982,
    adding a new subsection. See Voting Rights Act Amendments of 1982, Pub. L.
    No. 97–205, § 3, 96 Stat. 131, 134, codified in relevant part at 52 U.S.C. § 10301. That
    subsection clarified that a violation was established if “the political processes
    leading to nomination or election in the State or political subdivision are not equally
    open to participation by” all racial groups such that their “members have less
    opportunity than other members of the electorate to participate in the political
    process and to elect representatives of their choice.” 52 U.S.C. § 10301(b).

            The Supreme Court interpreted that new language in Thornburg v. Gingles,
    to mean that Section 2, unlike the Constitution, could be violated even if a state did
    not act with a racial motive. 478 U.S. 30, 35 (1986). The Court also took a broad
    view of discriminatory effect, such that Section 2 generally requires the creation of
    legislative districts where a racial minority is (1) large and geographically compact,
    (2) politically cohesive, and (3) otherwise unable to overcome bloc voting by the
    racial majority. See id. at 50–51. “Gingles claims,” as they are sometimes called,
    are regularly brought by voting-rights plaintiffs today, including Plaintiffs here, who
    listed a discriminatory-effects claim in their initial complaint. Dkt. 7 Ex. 7 at 27.

           But in seeking a preliminary injunction, Plaintiffs do not present their
    Gingles theory. Instead, they rest primarily on a theory of intentional vote
    dilution—that is, the kind of theory that would have been viable even before the
    1982 amendments. See Reno v. Bossier Parish Sch. Bd., 520 U.S. 471, 481–82 (1997)



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    (explaining the amendments’ effect). Such theories are seldom pursued because,
    at least according to conventional wisdom, they are more difficult to prove than are
    effects-only Section 2 claims. See, e.g., Harding v. County of Dallas, 948 F.3d 302,
    313 n.47 (5th Cir. 2020). We do not speculate on why Plaintiffs have made this
    choice, but we observe that it presents this Court with a relatively undeveloped
    body of precedent. See Perez, 253 F. Supp. 3d at 942.

            As distinguished from the more specialized set of doctrines that has arisen
    from the Gingles caseline, intentional-vote-dilution theories call for the application
    of general constitutional principles. The theoretical origin of those principles is not
    entirely obvious. Although Bolden spoke of the Fifteenth Amendment, see Bolden,
    446 U.S. at 60–61 (plurality opinion), Reno suggested that both the Fourteenth and
    Fifteenth Amendments were relevant to the constitutionality of vote dilution, see
    Reno, 520 U.S. at 481.4

            Despite that ambiguity, courts evaluating intentional-discrimination claims
    in the voting-rights context fall back on doctrines established in Equal Protection
    cases. See id. at 481–82. And in that context, discriminatory purpose means more
    than awareness of a discriminatory effect—instead, it requires a plaintiff to establish
    that a state decisionmaker acted “at least in part ‘because of,’ not merely ‘in spite
    of,’ its adverse effects upon an identifiable group.” Pers. Adm’r of Mass. v. Feeney,
    442 U.S. 256, 279 (1979).

            Still, the decisionmaker need not explicitly spell out its invidious goals—a
    court may sometimes infer discriminatory intent where an act has predictable
    discriminatory consequences. See id. at 279 n.25; United States v. Brown, 561 F.3d
    420, 433 (5th Cir. 2009). In Village of Arlington Heights v. Metropolitan Housing
    Development Corp., 429 U.S. 252, 266–68 (1977), the Court listed five factors that
    courts may look to in drawing such inferences: (1) discriminatory effect, (2)


            4
               Compare Backus v. South Carolina, 857 F. Supp. 2d 553, 569 (D.S.C. 2012) (three-
    judge court) (discussing uncertainty about the Fifteenth Amendment’s role), with Prejean
    v. Foster, 227 F.3d 504, 519 (5th Cir. 2000) (“[T]he Supreme Court has rejected application
    of the Fifteenth Amendment to vote dilution causes of action.”).




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    historical background, (3) the sequence of events leading up to a challenged
    decision, (4) departures from normal procedure, and (5) legislative history.5 But
    the Court stressed that those factors are not exhaustive and that the inquiry is highly
    sensitive and fact-bound. See id. at 266–68.

            Turning to Plaintiffs’ second theory of liability, the history of racial
    gerrymandering claims is more straightforward. The seminal case is Shaw v. Reno,
    509 U.S. 630 (1993). There, in an attempt to comply with Gingles, North Carolina
    had drawn two unnaturally shaped Black-majority congressional districts. See id.
    at 635–36, 655–56. The Supreme Court held that the plaintiffs could challenge
    those districts under the Fourteenth Amendment’s Equal Protection Clause insofar
    as “they rationally cannot be understood as anything other than an effort to separate
    voters into different districts on the basis of race.” Id. at 649.

            The Court has since clarified that, to succeed in such a challenge, plaintiffs
    must show that race was the “predominant factor” in redistricting, such that “the
    legislature subordinated traditional race-neutral districting principles . . . to racial
    considerations.” Miller v. Johnson, 515 U.S. 900, 916 (1995). If such a showing is
    made, the state must demonstrate that its use of race was narrowly tailored to a
    compelling interest. See Shaw, 509 U.S. at 653.

            Shaw began a pattern in which plaintiffs brought racial gerrymandering
    claims in opposition to perceived excesses under Gingles. Sometimes those plaintiffs
    are Republicans who oppose the creation of majority-minority districts that are
    predicted to favor Democratic candidates. See, e.g., Bush v. Vera, 517 U.S. 952, 957
    (1996) (plurality opinion). At other times they are Democrats who fear that states
    are packing their minority co-partisans into as few districts as possible. See, e.g.,

            5
               The factors are sometimes enumerated differently, including by various panels of
    the Fifth Circuit. One tally treats procedural and substantive departures from normal
    procedure as separate prongs, with discriminatory effect as a distinct “starting point.” See,
    e.g., Rollerson v. Brazos River Harbor Navigation Dist., 6 F.4th 633, 639–40 (5th Cir. 2021)
    (plurality opinion) (quoting Arlington Heights, 429 U.S. at 266). This Court adopts the
    enumeration listed elsewhere, see, e.g., Fusilier v. Landry, 963 F.3d 447, 463 (5th Cir. 2020),
    primarily because it better aligns with the parties’ briefing. That decision is organizational
    and has no effect on the underlying legal or factual analysis.




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    Ala. Legis. Black Caucus v. Alabama, 575 U.S. 254, 260 (2015). As a result, the
    doctrine associated with racial gerrymandering is relatively easy to disentangle from
    Section 2 jurisprudence.

           But while Plaintiffs’ theories may have different origins and tend to be
    deployed differently, they have strong substantive overlap. Both require
    Defendants to have acted purposefully to diminish the voting strength of minorities
    in SD 10, and both are rooted at least partly in the Fourteenth Amendment. Indeed,
    it would not be impossible to read Shaw and later racial-gerrymandering cases as
    merely elaborating upon the intentional-vote-dilution theory sketched in Bolden and
    Reno. But the Fifth Circuit continues to treat intentional vote dilution as a legal
    harm distinct from racial gerrymandering, see, e.g., Harding, 948 F.3d at 312, as does
    the Supreme Court, cf. Shaw, 509 U.S. at 652; Abbott v. Perez, 138 S. Ct. 2305, 2314
    (2018) (describing the two theories separately). And this Court does so as well.

          There are several differences between intentional vote dilution and racial
    gerrymandering, the most important of which for present purposes is quantitative:
    Plaintiffs must make a stronger showing to demonstrate racial gerrymandering than
    to show intentional vote dilution. While intentional discrimination means only that
    a decisionmaker acted “at least in part” with a discriminatory purpose, Feeney,
    442 U.S. at 279, racial gerrymandering requires that the decisionmaker
    “subordinated” other redistricting considerations to race, Miller, 515 U.S. at 916.
    Thus, Plaintiffs may show intentional vote dilution merely by establishing that race
    was part of Defendants’ redistricting calculus, but to show racial gerrymandering
    they must go further and prove that race predominated over other considerations
    such as partisanship.6 If, as we conclude, Plaintiffs fail to make the first showing,
    they logically cannot make the second.

            There are also a few qualitative differences between intentional vote


            6
               Miller, 515 U.S. at 916, stated only that race must subordinate “traditional . . .
    districting principles,” a category from which, perhaps naively, partisanship is often
    omitted. But later decisions clarify that a partisan motive can defeat a racial-
    gerrymandering claim. See, e.g., Cooper v. Harris, 137 S. Ct. 1455, 1464 (2017).




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    dilution and racial gerrymandering that are less relevant at this stage. The two
    theories differ in how they conceive of a plaintiff’s legal injury.

            The injury in an intentional-vote-dilution claim is the same as it is for any
    other intentional-discrimination claim: The state has subjected minorities to
    invidious discrimination. See, e.g., Bolden, 446 U.S. at 62 (plurality opinion). The
    injury inflicted by racial gerrymandering is more abstract. That injury arises when
    district lines “reinforce[ ] the perception that members of the same racial group . . .
    think alike, share the same political interests, and will prefer the same candidates at
    the polls.” Shaw, 509 U.S. at 647. That difference was important to this Court’s
    determination of which Plaintiffs had standing to bring which claims, see Dkt. 119
    at 3–5, though it does not alter the merits.

            Separately, racial gerrymandering has traditionally been subject to a narrow-
    tailoring defense, while intentional vote dilution has not. See, e.g., Perez,
    253 F. Supp. 3d at 891, 962 (conducting a narrow-tailoring analysis in the racial-
    gerrymandering context but not in the intentional-vote-dilution context). The
    theoretical basis for that difference is less clear, but the Court does not confront
    that uncertainty here because Defendants have not presented a narrow-tailoring
    defense to either theory.

            Thus, the most relevant distinction between Plaintiffs’ two theories at this
    stage is that, though both require discriminatory intent, racial gerrymandering
    requires a stronger showing. If Plaintiffs fail to demonstrate a likelihood of success
    on their intentional-vote-dilution theory, they will automatically fail on their racial-
    gerrymandering theory. Because the Court concludes that Plaintiffs do fail on their
    first theory, we do not separately consider the second one.

    C. Discriminatory Effect and the Role of Gingles

            As explained above, this is not a Gingles action. But Gingles addresses
    discriminatory effect, which is required for any showing of intentional
    discrimination. Defendants therefore contend that, in order to prevail, Plaintiffs
    must show that benchmark SD 10 satisfied the three Gingles requirements. Thus,
    Defendants say, Plaintiffs cannot prevail unless SD 10’s minority voters are




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    (1) numerous and compact, (2) vote cohesively, and (3) are systematically outvoted
    by the surrounding Anglo communities.

           We disagree with the Defendants’ understanding of the requirements.
    Plaintiffs may show discriminatory effect without making a full Gingles showing. As
    noted above, Gingles and its progeny do not articulate general legal principles for
    intentional discrimination but, instead, offer an interpretation of one section of the
    VRA. Gingles itself reached that interpretation by relying heavily on legislative
    history and scholarship interpreting the VRA. See Gingles, 478 U.S. at 48–51. As
    critics of the decision have been quick to point out, it is not clearly rooted in the
    VRA’s plain text and is even further removed from the text of the Constitution.
    See, e.g., Holder v. Hall, 512 U.S. 874, 895–98 (1994) (Thomas, J., concurring in the
    judgment).

           The intentional-vote-dilution analysis, meanwhile, is derived from the
    Constitution, and the Arlington Heights framework deployed in that analysis states
    merely that effects are discriminatory when they “bear[ ] more heavily on one race
    than another.” Arlington Heights, 429 U.S. at 266 (quoting Washington v. Davis,
    426 U.S. 229, 242 (1976)). Incorporating the Gingles framework into the
    intentional-vote-dilution analysis, thereby constitutionalizing the Gingles factors,
    would thus be an unnatural result, and it is not one that this Court accepts.

          This conclusion finds support in Bartlett v. Strickland, 556 U.S. 1 (2009).
    That case concerned the application of Section 2 of the VRA to “crossover
    districts”—that is, districts where a minority “is large enough to elect the
    candidate of its choice with help from voters who are members of the majority and
    who cross over to support the minority’s preferred candidate.” Id. at 13 (plurality
    opinion). A plurality of the Supreme Court held that Section 2 does not require the
    creation of crossover districts. Id. at 25–26. It reasoned primarily from the third
    prong of Gingles, which requires that the majority votes in a bloc to defeat minority-
    preferred candidates. Gingles, 478 U.S. at 51. Because, in a crossover district, a
    portion of the majority votes with the minority, it cannot be the type of district
    required by Gingles. See Bartlett, 556 U.S. at 16 (plurality opinion).




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            But the Bartlett plurality cautioned in dictum that “if there were a showing
    that a State intentionally drew district lines in order to destroy otherwise effective
    crossover districts, that would raise serious questions under both the Fourteenth
    and Fifteenth Amendments.” Id. at 24. The plurality thus concluded both that
    Gingles does not require the creation of crossover districts and that the Constitution
    might be violated if a state intentionally destroyed a crossover district. Id. Under
    that reasoning, it must be possible for a state to violate the Constitution by
    dismantling a district that does not meet all three Gingles requirements. Though
    we are not bound by the dictum of a Supreme Court plurality, Bartlett’s reasoning
    provides persuasive authority against applying the Gingles framework to
    intentional-vote-dilution claims.

           Defendants maintain that not considering the Gingles factors here conflicts
    with the approach taken by the Eleventh Circuit, but we disagree. The relevant
    case, Johnson v. DeSoto County Board of Commissioners, 72 F.3d 1556 (11th Cir.
    1996), was grounded expressly in the VRA and not the Constitution. The DeSoto
    court, relying on Voinovich v. Quilter, 507 U.S. 146 (1993), reasoned from the key
    distinction between Section 2 and Fourteenth Amendment redistricting violations:
    The former do not require intent. See DeSoto, 72 F.3d at 1561–62. Because intent
    is not an element of a Section 2 violation, it followed that intent was not sufficient
    to establish a Section 2 violation. See id. at 1564.

            That circuit’s later decisions have thus required Section 2 plaintiffs alleging
    discriminatory intent to make a Gingles showing. See, e.g., Burton v. City of Belle
    Glade, 178 F.3d 1175, 1201 (11th Cir. 1999); see also Thompson v. Kemp,
    309 F. Supp. 3d 1360, 1366–67 (N.D. Ga. 2018) (three-judge court). But DeSoto’s
    reasoning strongly suggests that that requirement is strictly statutory, so
    inapplicable to the constitutional theory here.7 Moreover, the Ninth Circuit has
    addressed the issue more squarely and does not require a Gingles showing where

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              It is also worth noting that the Eleventh Circuit did not have the benefit of the
    Supreme Court’s guidance in Bartlett when it decided DeSoto and Burton. The Eleventh Circuit
    decided those cases in 1996 and 1999, respectively, while the Supreme Court decided Bartlett
    in 2009.




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    intentional discrimination is alleged. See Garza v. County of Los Angeles, 918 F.2d
    763, 769–71 (9th Cir. 1990). The three-judge panel in Texas’s previous redistricting
    cycle adopted the Ninth Circuit’s approach, see Perez, 253 F. Supp. 3d at 944
    (addressing statutory claims). This Court now does the same.

           So, though Plaintiffs must show discriminatory effect to prevail on their
    intentional-vote-dilution theory, see Harding, 948 F.3d at 312, this Court concludes
    that that discriminatory effect does not require the benchmark district to meet all,
    or any, of the Gingles requirements for a Section 2 district.




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    III. FINDINGS AND ANALYSIS

    A. The Arlington Heights Factors

    1. Discriminatory Effect

            To show a discriminatory effect in the context of intentional vote dilution,
    Plaintiffs must demonstrate that the redrawing of SD 10 “bears more heavily on
    one race than another.” Arlington Heights, 429 U.S. at 266 (quoting Washington,
    426 U.S. at 242). As this Court will explain, experts on both sides agree that voting
    in SD 10 is racially polarized—the Black and Hispanic electorate tends to vote
    Democrat, while Anglos tend to vote Republican. Similar patterns exist nationally.
    Almost any gerrymander that favors Republicans would therefore tend to lessen the
    voting strength of minorities relative to Anglos, and yet partisan gerrymandering is
    beyond the power of federal courts to police. See Rucho v. Common Cause, 139 S. Ct.
    2484, 2506–07 (2019). Indeed, almost any gerrymander that favors Democrats
    would tend to lessen the relative voting strength of Anglos, whose voting rights are
    no less protected by the Constitution. See, e.g., Harding, 948 F.3d at 306.

            But this Court is loath to conclude that partisan gerrymandering creates an
    effectively automatic discriminatory effect for purposes of Arlington Heights, and
    this case does not require the Court to do so. Instead, the Court observes that the
    redrawing of SD 10 disperses the district’s minority voters—irrespective of
    whether one conceives of them as a coalition—such that the candidates they
    support are far less likely to win election. Although a Gingles theory would require
    more, the Court concludes that Plaintiffs likely will demonstrate that the action they
    challenge produces a discriminatory effect. The Court begins by reviewing the
    testimony of the parties’ expert witnesses.

    a) Credibility Determinations

            First, the Court finds the factual testimony of Plaintiffs’ expert, Dr. Barreto,
    credible. Dr. Barreto is well-versed in conducting Ecological Inference Analysis to
    analyze racially polarized voting. R. at 2:109. His extensive record of academic
    research has focused on racial voting patterns. Pls.’ Ex. 105 at 1–6. The Court
    accepted him as an expert without objection. R. at 2:122–23.



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            Dr. Barreto testified credibly that Black and Hispanic voters
    overwhelmingly prefer Democratic candidates in general elections. R. at 2:137–38.
    On direct examination, Dr. Barreto ably explained the methodology behind the
    figures in his report highlighting the disparity in general-election voting patterns
    between Anglo and minority voters. R. at 2:123–43, 3:4–35. Dr. Barreto used
    publicly available data from the Texas Legislative Council to conduct his analysis.
    R. at 2:115–16.

            The Court is agnostic as to Dr. Barreto’s factual determination that
    benchmark SD 10 is likely a majority-minority district by CVAP today. Pls.’ Ex. 44
    at 4; R. at 2:113, 3:58. Dr. Barreto explained how SD 10’s minority population was
    rapidly growing before the September 2021 redistricting legislation. Pls.’ Ex. 44 at
    3. He admitted that the most recent ACS data, which is from 2019, do not reflect
    that SD 10 is a majority-minority district, R. at 3:70–74, but he credibly
    hypothesized that, projecting growth forward to today, SD 10 is likely a majority-
    minority district. Apart from asserting without elaboration that he “did
    calculations,” R. at 3:73–74, he did not offer any mathematical support for that
    hypothesis, and so we are left to treat it as merely possible.

           We give little weight to Dr. Barreto’s ultimate conclusions. He maintained,
    throughout his testimony, that the only relevant factor in determining whether
    Black and Hispanic citizens vote as a cohesive group is how they vote in general
    elections. E.g., R. at 3:107–08. Although that may be a defensible position in
    political science, whether general elections are sufficient to satisfy the legal criterion
    of voter cohesion is outside Dr. Barreto’s stated field of expertise. Though we take
    his expert opinion into account, and though we agree that voter behavior in general
    elections is relevant, defining voter cohesion is ultimately a legal question reserved
    to the Court.

            We also note that, as is forgivable in an adversary system, Dr. Barreto
    showed signs of partiality to his side’s position. For instance, Dr. Barreto spoke of
    Dr. Alford’s analysis in strongly negative terms, R. at 3:121, 8:70, but his rebuttal
    testimony suggested he had exaggerated. Specifically, Dr. Barreto implied that the
    data provided by Dr. Alford were analytically useless, but the main defect seemed



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    to be a solvable one: Dr. Alford had botched the dataset’s key, such that results for
    the two candidates were swapped. R. at 7:102–03. While that reflects insufficient
    rigor on Dr. Alford’s part, the Court does not accept that it justified Dr. Barreto’s
    hyperbole. Similarly, Dr. Barreto claimed that he had generated “quite different”
    results using data from the same source as Dr. Alford, R. at 8:70, but Dr. Barreto
    never explained his own results. The Court observes that Dr. Barreto’s testimony,
    though he is highly qualified and by no means disingenuous, must be viewed
    critically.

            Second, we credit the testimony of Plaintiffs’ other expert, Dr. Cortina, that
    the legislature could have drawn another map, such as the one submitted by
    Plaintiffs as Alternative Plan 4, that added a Republican-leaning senate district
    without depriving minority voters in SD 10 of the ability to elect the candidate of
    their choice. The Court accepted Dr. Cortina, without objection, as an expert on
    voter behavior. R. at 5:100. His testimony about the Plan 4 map was clear and
    persuasive as far as it went. But we do not treat that testimony as demonstrating
    that an alternate map could better or even equally serve the partisan interests the
    Texas Senate’s Republican majority sought to accommodate by redrawing SD 10.

            Dr. Cortina testified that he assumed a likely 10% margin of victory rendered
    a voting district “safe.” R. at 5:109–10. He explained that, using the 10% number,
    both Alternative Plan 4 and Plan 2168 provide Republicans the same number of safe
    senate districts. R. at 5:113. He added that Alternative Plan 4 would even enable
    Republicans potentially to carry an additional district. R. at 5:114. As Defendants
    pointed out, in making his calculations Dr. Cortina looked only at the results from
    statewide races and only as far back as the 2018 elections. R. at 5:131. Dr. Cortina
    did not account or purport to account for senate-specific election results going back
    further than the last few years.

            We credit Dr. Cortina’s testimony that using his methodology, it is possible
    to produce a map favorable to Republicans other than Plan 2168. But Dr. Cortina
    also testified that he did not know which plans were considered by the legislature in
    September or whether the legislature took into account partisan considerations
    other than likely margin of victory. R. at 5:136–37. Nothing in his testimony



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    conflicts with Dr. Alford’s subsequent testimony that it makes sense for the
    majority party, when it is attempting to strengthen its hold on a legislative body,
    first to address swing districts, and that SD 10—of all the State’s Senate districts—
    was the swing district Republicans could most easily convert to Republican-leaning.
    R. at 7:56–58.

           Dr. Cortina also showed admirable restraint in his conclusions. Defendants
    stressed that Dr. Cortina made no predictions about how the alternative maps
    would perform in future state senate elections. R. at 5:134. That was despite the
    fact that, in a more colloquial setting, many would comfortably predict that districts
    Senator Ted Cruz won by ten points in 2018 will likely elect Republican state
    senators in the future. The Court interprets Dr. Cortina’s reticence as reflecting a
    commitment to stating only conclusions that he could establish empirically.

            Third, we find the testimony of Dr. Alford—the Defendants’ expert—
    credible. Dr. Alford has long been recognized for his expertise and experience in
    political science generally, and that expertise extends to redistricting. R. at 7:42–
    43. He has appeared as an expert witness in previous voting-rights cases and was
    accepted as an expert in this case without objection. R. at 7:42–43.

           Dr. Alford testified that though the Black and Hispanic electorate votes
    cohesively in general elections—as both prefer Democrats over Republicans—that
    cohesion is not as evident in primary elections. R. at 7:46–50. The Court gives
    credit to Dr. Alford’s conclusion that primary elections are relevant to analyzing
    divisions within political coalitions and that partisan affiliation is the main driver of
    voter behavior in general elections. The Court finds relevant and helpful
    Dr. Alford’s analysis concerning the 2014 Democratic primary in SD 10, in which
    Black and Anglo voters preferred the Anglo candidate and Hispanic voters
    preferred the Hispanic candidate. Defs.’ Ex. 34 at 4–5. But the Court gives limited
    weight to Dr. Alford’s ultimate suggestion that minority voters in SD 10 do not vote
    cohesively, R. at 7:49–51, both because Dr. Alford analyzed only one (dated)
    primary election in arriving at that conclusion, R. 7:48, 77, and, as already
    mentioned, defining voter cohesion is ultimately a legal question reserved for the
    Court.



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           The Court also considers credible Dr. Alford’s testimony concerning
    Alternative Plan 4. He testified that it made sense for the Senate Republican
    majority to look first to shore up its chance of winning SD 10, given that it was a
    swing district based in a Republican county. R. at 7:44, 57. Dr. Alford also testified
    that the Senate Republican majority may have had other legitimate partisan
    interests, which it sought to serve by redrawing SD 10, that may not have been
    achieved by another map, such as Plan 4. R. at 7:59, 135–37. The Court also credits
    Dr. Alford’s uncontradicted testimony that, according to the most recent ACS data,
    SD 10 is not a majority-minority CVAP district, R. at 7:45, though that conclusion
    does not rule out that the district has become majority-minority since those data
    were taken in 2019.

          The Court also observes that Dr. Alford’s apparent digressions into
    advocacy were more striking than even Dr. Barreto’s. Particularly during cross-
    examination, Dr. Alford tended to go beyond just presenting statistical conclusions:
    He provided legal and political opinions favorable to Defendants.

            Among other things, Dr. Alford expressed moral distaste for the legal theory
    of political cohesion among minorities, remarking, for instance, that Congressman
    Marc Veasey, who is Black, had “stole[n]” what was once a Hispanic district. R.
    at 7:120–21. He also made clear that his conclusions regarding SD 10 resulted from
    his (or at least his colleagues’) analysis of only one election—the 2014 primary. R.
    at 7:116. Dr. Alford’s nonetheless expressed confidence in the conclusion because,
    he said, it was consistent with wider research on the way the Black and Hispanic
    electorate votes; he needed only ensure that SD 10 was not a “unicorn.” R. at 7:116.
    While that may be correct, the Court’s confidence in Dr. Alford’s findings
    regarding SD 10 is less than it would be if he had conducted a more thorough
    analysis.

    b) CVAP, VAP, and Total Population

            As explained above, the precise racial breakdown of SD 10 can be read
    different ways depending on which population metric one uses and on how one
    analyzes trends since the latest ACS report. Those differences are important




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    because the destruction of a majority-minority district, particularly one controlled
    by one racial group, would be a relatively clear discriminatory impact. Cf. Rogers v.
    Lodge, 458 U.S. 613, 616 (1982) (noting that at-large election schemes have
    discriminatory effects because they prevent the existence of majority-minority
    districts). On the other hand, if a group’s share of a district were reduced from,
    say, 10% to 5%, that group’s political power would be weakened in only an abstract
    sense. The Court considers whether minority groups may be aggregated for this
    analysis below, but first the Court addresses whether Plaintiffs have carried their
    burden to show that benchmark SD 10 was majority-minority. We conclude that
    they have not.

           The first question the Court must decide is whether total population, VAP,
    or CVAP is the relevant metric. We agree with the parties that it is CVAP. The
    Supreme Court has not always been pellucid on this subject. For instance, the
    plurality in Bartlett referred to VAP, 556 U.S. at 18, but the dissent characterized
    the plurality as discussing CVAP, id. at 27 (Souter, J., dissenting). In Gingles,
    meanwhile, the Court used neither term; it may have been thinking in terms of total
    population. See Gingles, 478 U.S. at 50.

           One decision that does navigate that confusion is LULAC v. Perry, 548 U.S.
    399 (2006). In that case, Texas had redrawn a congressional district such that the
    Hispanic CVAP fell below 50%, even as the total Hispanic population stayed above
    50%. Id. at 424. The Court noted that use of CVAP as the relevant metric “fits the
    language of § 2 because only eligible voters affect a group’s opportunity to elect
    candidates.” Id. at 429.

           Plaintiffs here press a constitutional theory rather than one based on
    Section 2, but the reasoning still applies. Both statutory and constitutional cases in
    this area concern the unequal allotment of political power, and that power depends
    on numbers of voters rather than total population. Further support lies in the fact
    that the new SD 10 is still majority-minority by total population, Pls.’ Ex. 44 at 6,
    and yet both parties agree that it is less likely to elect minority-preferred Democrats.

           If total population is not the correct metric because it does not capture




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    actual voting power, then surely VAP is inferior to CVAP. And indeed, neither
    party seriously disputes that conclusion. In cross-examining Dr. Barreto,
    Defendants’ counsel pushed the position that CVAP was the appropriate metric,
    and Dr. Barreto never managed to squarely disagree. R. at 3:65. In the absence of
    dispute, the Court concludes that CVAP is the best metric currently before the
    Court for determining racial voting power in SD 10.

            The second question is whether benchmark SD 10 was majority-minority by
    CVAP at the time of redistricting. Dr. Barreto says it was. As proof, he offers only
    the “steady decline in [the] Anglo share of the district’s CVAP, and the lag inherent
    in the 5-year ACS estimates.” Pls.’ Ex. 44 at 4.

            But Dr. Barreto did not show the work he used to infer that the Anglo
    population had fallen below 50% by 2021. Pls.’ Ex. 44 at 4; R. at 3:73–74, 8:77–78.
    That omission gives the Court pause. According to the statistics cited by
    Dr. Barreto, the Anglo share of the district fell from 57.7% in about 2013 to 53.9% in
    about 2017. Pls.’ Ex. 44 at 4.8

           From those data alone, the Court cannot conclude that benchmark SD 10 is
    a majority-minority district by CVAP. The Court should not engage in sua sponte
    econometric modeling, and Dr. Barreto’s bare conclusion is inadequate, his
    impressive expertise notwithstanding.

    c) Political Cohesiveness

            As explained, this Court finds that SD 10 was not majority-minority at the
    time of redistricting when judged by the most relevant metric. SD 10 is also unlike
    the prototypical Gingles district in another way—no single minority comes close to
    50% of CVAP. The Fifth Circuit does allow different minority groups—say, Black
    and Hispanic voters—to be aggregated to form “coalition districts,” provided that
    those districts meet the other Gingles factors. See Campos v. Baytown, 840 F.2d
    1240, 1244 (5th Cir. 1988). The law in the Fifth Circuit is less clear on whether the

            8
               These are the “midpoint” years of the five-year ACS reports. Dr. Alford
    stressed, and the Court accepts, that these are not “snapshots” of the years in question,
    and the Court uses them here only as rough approximations. R. at 7:71.




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    second Gingles factor—political cohesiveness—can be met without considering
    primary elections, a point that the parties hotly dispute.

            But as this Court has noted, in seeking an injunction the Plaintiffs do not
    present a Gingles theory, so they are not required to show that SD 10 meets the
    Gingles requirements. Instead, they rely on the more generic Equal Protection
    framework in Arlington Heights, which finds discriminatory effects more readily.9
    Thus, while the Court appreciatively credits the testimony of Drs. Barreto and
    Alford about the contexts in which SD 10’s minorities do and do not vote for the
    same candidate, that is the end of the purely factual inquiry.

           Whether Black and Hispanic voters in SD 10 are politically cohesive enough
    to constitute a coalition under Gingles and Campos is a question of law, and, at least
    in the Fifth Circuit, the relative legal significance of general and primary elections
    remains undecided.10 We have no occasion to make that decision here. Rather, we
    conclude that Plaintiffs may prevail on this prong by showing a discriminatory
    impact on either Black or Hispanic voters (or any other racial group), regardless of
    the level of political cohesion between those groups.

    d) Conclusion on Discriminatory Effect

            Instead of looking to any of the Gingles factors, this Court applies the first
    factor of Arlington Heights, asking whether the redrawing of SD 10 “bears more
    heavily on one race than another.” Arlington Heights, 429 U.S. at 266 (quoting
    Washington, 426 U.S. at 242). As noted above, that test gives rise to a serious line-

            9
             See Arlington Heights, 429 U.S. at 269 (stating that the impact of a zoning decision
    was “arguably” discriminatory because it tended to exclude members of income groups
    that were more heavily minority); see also Washington, 426 U.S. at 245–46 (referring to the
    “disproportionate impact” of a test that was passed at a higher rate by Anglos than Blacks).
            10
                Other courts have reached the issue when evaluating theories other than
    intentional vote dilution. Compare, e.g., Rodriguez v. Pataki, 308 F. Supp. 2d 346, 421
    (S.D.N.Y.) (per curiam) (three-judge court) (concluding that divergence in primaries
    defeats a showing of political cohesion), aff’d, 543 U.S. 997 (2004) (mem.), with, e.g., Texas
    Preclearance Litig., 887 F. Supp. 2d at 174 (concluding that “shared voting preferences at
    the primary level would be powerful evidence of a working coalition, but it is not needed to
    prove cohesion”).




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    drawing problem in the redistricting context because, given that race and
    partisanship correlate (however unevenly) throughout the United States, almost
    every reallocation of voting power at the hands of either party will tend to bear more
    heavily on some races and less on others. But it does not follow that every
    redistricting gives rise to discriminatory effect of constitutional dimensions.

           Fortunately, the facts of this case are dispositive enough that we need not
    draw any bright line between discriminatory and nondiscriminatory partisan shifts.
    Even without concluding that SD 10 is majority-minority and even without
    attempting to aggregate its different minority groups, it is apparent that the cracking
    of the district bears more heavily on Black and Hispanic voters11 than it does on
    Anglos. Both groups have been reduced as a percentage of the district’s CVAP—
    Blacks from 20.9% to 17% and Hispanics from 20.4% to 17.5%. Pls.’ Ex. 44 at 4, 6.
    And while reductions of that magnitude might be academic in other contexts, in
    SD 10 they make a substantial difference.

            As both parties’ experts freely admit, SD 10’s Black and Hispanic voters
    tend to favor Democrats and oppose Republicans. R. at 2:137–38, 7:123–24. Where
    previously the district often elected Democrats, it is now likely to elect Republicans.
    Thus, both groups have been substantially diminished in their ability to influence
    SD 10’s elections. Those removed from the district have, of course, been added to
    other, nearby districts, but those districts are, like the new SD 10, Republican-
    leaning. Thus, the redrawing of SD 10 results not just in an incremental
    diminishment in minority voting strength but also in the loss of a seat in which
    minorities were able to elect candidates they preferred.

            When Texas previously attempted to redraw the district along similar lines,
    a different district court concluded that there was “little question” that the impact
    was discriminatory within the meaning of Arlington Heights. Texas Preclearance


            11
               This is not to suggest that the redrawing of SD 10 does not bear especially heavily
    on Asians or members of other minority groups. But the impact on Black and Hispanic
    voters is especially easy to assess because those groups are relatively well-represented in
    SD 10 and because both parties have focused on those groups in their analysis.




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    Litig., 887 F. Supp. 2d at 163. That was despite the fact that the district had elected
    only one Democrat—Senator Davis, in 2008—up to that point. See id. at 162–63.
    Texas had not denied that the redrawing of the district nonetheless constituted
    discriminatory impact. Id. at 164. Here, Defendants do deny discriminatory impact,
    but they do so by relying on the Gingles theory that this Court has now rejected.
    Dkt. 102 at 38–42. Having denied that position, the Court concludes that Plaintiffs
    will likely be able to demonstrate a discriminatory effect, strengthening an inference
    of discriminatory intent.

    2. Historical Context

           The second Arlington Heights factor is whether history suggests
    discriminatory intent. Historical evidence must be “reasonably contemporaneous
    with the challenged decision.” McCleskey v. Kemp, 481 U.S. 279, 298 n.20 (1987).
    Thus, for purposes of this analysis, this Court is concerned only with Texas’s recent
    history and not with any longer legacy of racial discrimination. But even with that
    constraint, it is evident that history favors an inference of discriminatory intent.

           In every decade since the statute was passed in 1965, federal courts have
    held that Texas violated the VRA. Veasey v. Abbott, 830 F.3d 216, 240 (5th Cir.
    2016) (en banc). That includes the most recent redistricting cycle and, most
    damningly, the 2012 decision holding that, among other violations, Texas had
    engaged in intentional vote dilution by redrawing SD 10 in a manner similar to that
    adopted in SB 4. See Texas Preclearance Litig., 887 F. Supp. 2d at 166. As mentioned
    previously, that case was decided under a now-defunct legal framework and has
    accordingly been vacated. See Texas Preclearance Litig., 570 U.S. at 928. But while
    the decision is not legally binding, and the burden of proof was the opposite of what
    it is now before this Court, that does not undo the historical significance of that
    three-judge decision. For that reason, the en banc Fifth Circuit has pointed to the
    case as demonstrating a “contemporary example[ ] of State-sponsored
    discrimination.” Veasey, 830 F.3d at 239.

           Defendants’ contrary argument is feeble. They point out that “those
    rulings addressed different maps passed by different legislators, and different map




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    drawers, at different times,” Dkt. 102 at 35, but that is what history means. Of
    course, these maps have not been struck down—they have only just been enacted.
    And as Plaintiffs point out, Senator Huffman was on the 2011 redistricting
    committee (and Senator Seliger chaired it), suggesting that the principal
    personalities were not entirely different then. Dkt. 108 at 6. Indeed, Anna Mackin,
    a staffer for Senator Huffman who played a key role in redrawing SD 10, served as
    counsel for the defendants in the previous round of redistricting litigation. Pls.’ Ex.
    25 at 1. If the immediately preceding redistricting cycle is not “reasonably
    contemporaneous with the challenged decision,” McCleskey, 481 U.S. at 298 n.20,
    then it is difficult to imagine what would be.

           The Court does not mean to overstate Texas’s history of discrimination
    within the past decade—for instance, the 2012 decision was reached under a
    framework that required Texas to prove a negative, see Texas Preclearance Litig.,
    887 F. Supp. 2d at 166, and Veasey, though ruling against the state on discriminatory
    effect, reversed the district court’s judgment that Texas had acted with
    discriminatory intent, see Veasey, 830 F.3d at 272. Senator Seliger, for one,
    continues to maintain that the Texas Preclearance Litigation court was factually
    mistaken in its finding of discriminatory intent, and we have no occasion to address
    that possibility. R. at 4:27. But in terms of proximity and comparability to the
    passage of SB 4, it is a close match. Plaintiffs will likely show that historical
    evidence weighs in favor of an inference of discriminatory intent.

    3. Sequence of Events
           The remaining Arlington Heights factors can be difficult to disentangle. The
    “specific sequence of events leading up to the challenged decision,” Arlington
    Heights, 429 U.S. at 267, could, in a case like this, be construed to include both
    departures from ordinary procedure and legislative history. But for organizational
    clarity, the Court focuses, in this section, on events that were not part of the formal,
    public legislative process. Specifically, we concentrate on the private meetings
    between Senators Powell and Huffman and their staffs, as well as correspondence
    involving those individuals.




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            The first meeting occurred on February 12, 2020—well before the release,
    in August 2021, of the 2020 census data that would guide the legislature’s
    redistricting process. Neither senator was present, but members of both staffs
    were. Plaintiffs draw attention to this meeting because of statements made by Sean
    Opperman, a staffer for Senator Huffman, as recorded by Rick Svatora, a staffer for
    Senator Powell. Specifically, Opperman said that SD 10 was “very close to ideal”
    population and so there would likely be no major changes to the district. R. at 2:13.
    To the contrary, the final plan did include major changes to SD 10. Svatora thus
    feels that he was not told the truth during the meeting. R. at 2:24.

           The second meeting occurred on November 19, 2020, and was attended by
    both senators and their staffs. That meeting was short, but one of Senator Powell’s
    staffers remembers that either Opperman or Senator Huffman verbally
    acknowledged that SD 10 was “majority-minority.” Pls.’ Ex. 6 at 2. Maps of the
    district were present, and those maps included boxes with basic racial data, though
    the maps did not illustrate how racial minorities were distributed throughout the
    district. Pls.’ Ex. 6 at 2.

            The third meeting occurred on September 14, 2021, after the 2020 census
    had been released and the legislature had been called into special session. Both
    senators and their staffs were present. Senator Huffman unveiled the redrawn
    SD 10—that version approximated the final configuration of the district in Tarrant
    County but included a different combination of rural counties. R. at 4:154. Senator
    Powell testifies that she asked no questions about the map, instead informing
    Senator Huffman that she “c[ould] clearly see what you’re attempting to do here.”
    R. at 4:84. Senator Powell and her staff had come prepared with maps of the
    benchmark district that highlighted its racial composition. These were handed
    around and, at Senator Huffman’s request, all those present initialed them. R. at
    4:129–30. As the discussion went on, Anna Mackin, a member of Senator
    Huffman’s staff, remarked that she felt “uncomfortable.” R. at 4:84.

            Finally, in addition to these meetings, there were several messages
    exchanged between Senator Powell’s staff and the legislature more broadly. On
    August 19, 2021, before the last meeting, Opperman sent senate staffers a link to a



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    redistricting Dropbox, which included the maps with basic racial data that had been
    present at the November 2020 meeting. Pls. Ex. 6 at 2. On September 16, 2021,
    two days after the meeting in which Senator Huffman unveiled the new map,
    Senator Powell’s staff emailed Senator Huffman’s staff with a letter expressing
    concerns about the plan’s racial impact and attachments illustrating those impacts.
    Pls.’ Ex. 6 at 4. Opperman responded to say that he had stopped looking at the
    documents once he realized they contained racial data. Pls.’ Ex. 6 at 5.

            We do not find or infer discriminatory intent from those events. It is not
    inherently suspicious that plans would change in the nineteen months between
    February 2020 and September 2021, especially when one considers that the census
    was conducted and its data were released within that timeframe. And even
    assuming that Senator Huffman’s staff withheld information from Senator Powell’s
    staff, that omission would be unsurprising given that the redrawing of SD 10 was
    deleterious to Senator Powell’s political prospects.

            Nor is it suspicious that Senator Huffman and her staff were exposed to
    racial data on SD 10. That exposure does not contradict Senator Huffman’s
    assertion that she willfully “blinded [her]self” to race in drawing the maps. R. at
    6:113. And even if Senator Huffman and her staff were fully aware of race in their
    redistricting,12 that in itself does not merit any nefarious inference. See Miller, 515
    U.S. at 916 (“Redistricting legislatures will . . . almost always be aware of racial
    demographics; but it does not follow that race predominates in the redistricting
    process.”).
    4. Procedural and Substantive Departures

            Now this Court focuses on departures from ordinary legislative procedure
    in the leadup to the passage of SB 4. The parties agree that redistricting would

            12
              And they well might have been. Racial data can remain “fixed in [a mapdrawer’s]
    head” even when they are not present on a computer screen, Harris, 137 S. Ct. at 1477, and
    Senator Huffman and her staff are knowledgeable civil servants who doubtless have some
    awareness of the state’s demographics. Indeed, as noted previously, one member of
    Senator Huffman’s staff was counsel in previous litigation where the racial demographics
    of Tarrant County were at issue. Pls.’ Ex. 25 at 1.




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    normally have occurred during a regular, biennial session of the Texas legislature
    over a longer timeframe but that in this case it occurred within the more limited
    timeframe of a special session. The parties disagree, of course, about whether the
    court may infer discriminatory intent from that irregularity.

           “Departures from the normal procedural sequence . . . might afford
    evidence that improper purposes are playing a role.” Arlington Heights, 429 U.S.
    at 267. But they also might not. During the last round of redistricting litigation, the
    Court in Abbott v. Perez, 138 S. Ct. 2305 (2018), reversed a decision of the three-
    judge district court and touched on a similar point. Specifically, the Texas
    legislature had enacted redistricting bills in a special session, over a far shorter
    timeframe than would normally be the case. See id. at 2328. But although the three-
    judge court treated that brevity as an indication that the legislature had acted in bad
    faith, the Supreme Court disagreed. See id. at 2328–29. It pointed out that the
    legislature “had good reason to believe that” the plans it enacted “were sound,”
    id. at 2329, because those plans had been issued by a court, see id. at 2327. That
    innocuous and plausible alternative explanation meant that no nefarious inference
    could be drawn from the legislature’s rush.

           The circumstances here are different—the Texas Legislature was not
    enacting a court-issued senate plan but rather one of its own making—but the
    situations are alike in that Defendants present alternative explanations for the
    brevity of the session in which SB 4 was passed. They posit two alternative theories:
    (1) The legislative process was abbreviated because the COVID–19 pandemic
    caused a delay in the publication of census results; and (2) the process was
    abbreviated because Texas Republicans feared that their Democratic colleagues
    might break quorum, as they had done earlier in 2021 to prevent the passage of an
    election-reform bill.

           The Court finds Defendants’ first explanation persuasive. The COVID–19
    pandemic has had disruptive effects in many ways. The taking of the 2020
    decennial census was one of them. By statute, the Census Bureau was required to
    publish the results of the census on April 1, 2021. See 13 U.S.C. § 141(c). Regular
    sessions of the Texas Legislature occur once every two years and last for no more



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    than 140 days. TEX. CONST. art. III, §§ 5, 24. Those sessions begin “on the second
    Tuesday in January of each odd-numbered year.” TEX. GOV’T CODE ANN.
    § 301.001. The legislature may be convened outside that timeframe only in special
    sessions called by the Governor, which are limited to thirty days. TEX. CONST.
    art. III, § 40.

          Ordinarily, those dates and numbers leave the legislature with time to
    complete redistricting during its regular session. Representative Chris Turner, a
    witness for Plaintiffs, testified that the redistricting process ordinarily can take
    about two months—twice as long as a special session. R. at 5:61. So the legislature
    faced a problem when the Census Bureau, citing challenges caused by the
    pandemic, delayed publication of the results until after the regular session had
    already ended. R. at 5:59. The legislature was thus forced to redistrict during a
    special session, which did not provide the ordinary amount of time.

          It was thus unavoidable that the legislature would depart from its ordinary
    procedures during the 2021 redistricting, for reasons that had nothing to do with
    discriminatory intent. The Plaintiffs’ claim of discriminatory intent stemming from
    the delay is extraordinarily weak. For Plaintiffs to show that procedural departures
    here are suggestive of such intent, they must point to some other indication of
    nefarious purpose. But they have not.

           Plaintiffs note that the Texas Senate conducted only limited public hearings
    about the redrawing of SD 10, Dkt. 39 at 16 (describing a “rushed process”), and
    that the Senate slightly redrew the district (removing Young County but not altering
    the district within Tarrant County) before convening to discuss it, R. at 4:138, 156;
    Dkt. 39 at 18. Plaintiffs also observe that the Texas House spent just one day
    considering the senate plan, providing significantly less opportunity for public
    discussion and amendments than would usually be the case. R. at 5:39–43. While
    those steps may have been atypical, all of them suggest a legislature pressed for
    time.

            Because the Court concludes that the pandemic more than adequately
    explains Texas Republicans’ decision to rush the redistricting process, we need not




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    evaluate Defendants’ secondary explanation that Republicans feared Democrats
    would break quorum.

            Plaintiffs point to another procedural irregularity: that Senator Huffman
    allegedly did not consider race in drawing the new senate map but later submitted
    her proposed map to the Texas Attorney General’s office, which apparently made
    no changes to it. Dkt. 108 at 12. But Plaintiffs have not developed that point.
    Crucially, none of their witnesses testified that the ordinary procedural course was
    distinct from the one advanced by Senator Huffman.

    5. Legislative History

            The Court turns finally to statements made on the floor of the legislature
    before the passage of SB 4. The parties have directed the Court to several hearings
    and statements that may be relevant. The Court reviews each in turn and, in doing
    so, is informed primarily by the public record and by the testimony of Senator
    Powell. Senator Huffman, the other main legislative antagonist, asserted her
    legislative privilege to the fullest extent possible, with the result that she offered no
    additional comment on legislative matters beyond those she had made publicly.

            First is a pair of committee hearings conducted on September 24 and 25,
    2021, to receive input from fellow legislators and the public on the redrawing of
    SD 10. The committee had very recently released a new proposed SD 10, which
    would have added additional rural counties without altering the district lines within
    Tarrant County. R. at 4:138, 156. At the nonpublic hearing, Senator Huffman read
    from prepared remarks concerning her redistricting methodology:

            My goals and priorities in developing these proposed plans include,
            first and foremost, abiding by all applicable law, equalizing
            population across districts, preserving political subdivisions and
            communities of interest when possible, preserving the cores of
            previous districts to the extent possible, avoiding pairing incumbent
            members, achieving geographic compactness when possible, and
            accommodating incumbent priorities, also when possible.
    R. at 4:94.

            Then Senator Powell asked Senator Huffman a series of questions about her




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    methods for drawing the maps, implying that the redrawing of SD 10 was
    unjustifiable on the stated rationales and would have a disproportionate impact on
    minority voters. Pls.’ Ex. 52 at 10–20. The next day, during the public hearing, a
    number of officials and concerned individuals testified about the redrawing of
    SD 10; many of them strongly refuted the premise that the redrawn district
    combined communities of interest. See generally Pls.’ Ex. 53.

            Second is a September 28 hearing of the redistricting committee. There,
    Senator Huffman again recited her redistricting criteria but this time added
    “partisan considerations” to the list. R. at 4:112. That hearing is also notable for
    the committee’s rejection of an amendment that would have restored benchmark
    SD 10. Pls.’ Ex. 54 at 13. In opposing that amendment, Senator Huffman restated
    that her map complied with the VRA and averred that redrawing SD 10 was
    warranted to balance population. Pls.’ Ex. 54 at 11–12.

            Third is a senate floor debate on October 4. Senator Huffman yet again
    recited her list of redistricting criteria, this time not listing partisanship. R. at 4:116–
    17. Senator Powell then debated Senator Huffman, interrogating her about why she
    had redrawn SD 10. Senator Huffman’s answers were often evasive. For instance,
    she repeatedly stated that “all” of the redistricting criteria had informed various
    decisions, without elaboration. R. at 4:126. She also stated at one point that she
    believed SD 10 “needed population.” R. at 4:125. But SD 10 was slightly
    overpopulated, and Senator Huffman smiled as she claimed otherwise. R. at 4:125.

          Senator Powell also asked Senator Huffman about the September 14
    meeting at which Senator Huffman had first revealed the planned redrawing of
    SD 10. Senator Huffman recalled that meeting quite differently from how Senator
    Powell and Garry Jones recounted it. R. at 4:128. Additionally, Senator Huffman
    claimed that, despite “hav[ing] an awareness that there are minorities that live all
    over this state,” she had “blinded [her]self to that as [she] drew these maps.” R.
    at 5:10–11. Later in the same debate, Senator Powell engaged in a friendly colloquy
    with a Democratic colleague. During that colloquy, Senator Powell expressed
    concerns about the racial consequences of redrawing SD 10, but she also agreed that
    the district was “absolutely” “being intentionally targeted for elimination as being



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    a Democratic-trending district.” R. at 5:26–28.

           Finally, the Texas House held a hearing on the senate plan on October 10.
    Republican Representative Todd Hunter, chairman of the redistricting committee,
    read a version of Senator Huffman’s statements of redistricting criteria. That
    version did not include partisanship. The House voted on the bill later the same
    day it had been introduced, minimizing opportunities for public testimony or
    amendments. R. at 5:39–44; Pls.’ Ex. 42 at 12–25.

            Plaintiffs stress that supporters of SB 4—they focus primarily on Senator
    Huffman, though they also mention Chairman Hunter13—generally did not list
    “partisan advantage” as one of the goals of SB 4. The one notable exception was
    the September 28 hearing.

           As with the nonpublic events preceding passage of SB 4, described above as
    the “sequence of events,” the legislative history suggests that supporters of the bill
    were less than forthright about their motivations. The redrawing of SD 10 is a
    transparent attempt to crack a Democratic-leaning district in greater Fort Worth:
    It is not consistent with principles such as core retention, geographic compactness,
    or combining communities of interest. Nor does the Court find it likely that the
    redrawing was necessary for the sake of population equalization—it certainly is not
    true that the district itself “needed population,” and Senator Huffman’s smirk
    suggests that she may well have known as much.

            13
                Defendants protest that “the legislators who vote to adopt a bill are not the agents
    of the bill’s sponsor or proponents.” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321,
    2350 (2021). Thus, Defendants argue, even if Senator Huffman were shown to have acted
    based on discriminatory intent, it would not follow that the other senators and
    representatives who voted for it had the same intent, and so Plaintiffs’ theory would still
    fail. We find that reading of Brnovich somewhat aggressive—though legislators are not
    “cat’s paw[s],” id., statements of discriminatory intent by a committee chair made during
    floor debate would doubtless be of some weight in judging the intentions of the body as a
    whole, particularly at this preliminary stage. And this would seem to be especially true
    where, as here, the committee chair and her team were solely responsible for drafting the
    map. But because we do not find evidence of discriminatory intent in Senator Huffman’s
    statements, we decline to examine further the extent to which such intent could have been
    more broadly attributed.




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             But as with previous prongs, the Court finds that racial discrimination did
    not motivate the Texas legislature in passing SB 4. Partisan gerrymandering alone
    cannot support a federal constitutional claim. See Rucho, 139 S. Ct. at 2507–08.
    Plaintiffs have pointed to nothing—no stray remark, secret correspondence, or
    suspicious omission—that would tend to indicate that Senator Huffman or anyone
    else acted even partially because of the racial impact of SB 4. Without such
    evidence, the legislative history of SB 4 does not support the inference that the bill
    was passed with discriminatory intent.

    6. Conclusion on Discriminatory Intent

            Though the factors above are organized numerically, the Court stresses
    again that they cannot be analyzed mechanically. Superficially, the five prongs are
    split, with three (sequence of events, procedural departures, and legislative history)
    favoring Defendants and two (discriminatory effect and historical context) favoring
    Plaintiffs. The Arlington Heights inquiry, however, is too sensitive to be reduced to
    a scorecard. Indeed, inconsistencies in how courts number the Arlington Heights
    factors, see supra note 5, would make an additive approach particularly inapposite.
    Instead, this Court conducts a “sensitive inquiry into such circumstantial and direct
    evidence of intent as may be available,” including any evidence not captured by the
    factors listed above. Arlington Heights, 429 U.S. at 266.

            The Court pauses, however, to summarize its findings so far regarding the
    effect of SB 4 and the circumstances of its passage. The Court finds that the
    enactment of SB 4 had a discriminatory effect; it bore more heavily on the Black
    and Hispanic voters of SD 10, such that those voters will likely no longer be able to
    elect the candidates whom they tend to prefer. The recent history is suggestive of
    discriminatory intent; Texas has a long history of losing redistricting cases, and that
    history includes a finding of discriminatory intent the last time the state redrew
    SD 10.

           Despite that context, however, the Court finds that the circumstances
    surrounding the passage of SB 4 do not suggest that the legislature acted with
    discriminatory intent. The specific sequence of events, departures from ordinary




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    procedure, and legislative history are all consistent with a time-pressed legislature
    seeking partisan advantage. It is conceivable that the legislature was also driven by
    a hidden racial motive, but the circumstances of SB 4’s passage provide no evidence
    for that conclusion. The bill’s discriminatory effect and Texas’s litigation history
    are not enough to make up for that absence.

          In sum, this Court concludes that the enumerated Arlington Heights factors,
    when weighed holistically, indicate that Plaintiffs are unlikely to succeed on the
    merits of their intentional-discrimination claim. They have thus also failed to show
    a likelihood of success on their racial-gerrymandering claim, which requires even
    stronger evidence of intent.

           The Court reiterates the context in which this finding is made. The Court
    is not making a final determination on the merits, but, instead, is assessing whether
    Plaintiffs are likely to prevail based on the evidence presented so far. The Court is
    well aware that extensive discovery is underway in preparation for the trial
    scheduled for this September. The Court does not foreclose the possibility that new
    evidence and more complete presentations will result in different findings after
    trial. Moreover, there are other considerations beyond the impact and history of
    SB 4 that bear on this Court’s inquiry into any discriminatory intent. We turn to
    those other factors now.

    B. Plaintiffs’ Alternative Maps

           Plaintiffs submit four alternative maps that, they say, achieve Republicans’
    partisan goals without cracking SD 10. Pls.’ Exs. 70, 76, 84, 92. Specifically, those
    plans give Republicans the same number of seats as SB 4 but ensure that the weakest
    Republican seat is slightly safer. Dkt. 39 at 40. The Supreme Court has discussed
    the use of alternative maps in the context of racial gerrymandering, with all nine
    Justices agreeing that such maps are helpful evidence of legislative intent. See
    Harris, 137 S. Ct. at 1479 (2017); id. at 1491 (Alito, J., dissenting).        That
    commonsense observation extends just as easily to intentional vote dilution. But
    Defendants naturally dispute that Plaintiffs’ proposed maps are probative of the
    state’s intent in redrawing SD 10.




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            The Court begins by addressing several of Defendants’ less-convincing
    objections. First, they stressed, in their briefing and at the hearing, that Plaintiffs’
    maps were never presented to the legislature. That uncontradicted factual assertion
    is true but irrelevant.

            Defendants cite several cases for their proposed requirement that
    alternative maps be proffered, but none of them purports to set forth that condition.
    See Harding, 948 F.3d at 309–11; Harris, 137 S. Ct. at 1479; Easley v. Cromartie,
    532 U.S. 234, 255–56 (2001). That absence makes sense given the purpose of
    alternative maps—they show that “[i]f you were really sorting by political behavior
    instead of skin color (so the argument goes) you would have done—or, at least,
    could just as well have done—this.” Harris, 137 S. Ct. at 1479. It is not necessary
    to show that Defendants specifically declined to adopt the alternative plans—
    rather, the maps illustrate (Plaintiffs say) what a truly partisan legislature might have
    done. And, as Plaintiffs point out, accepting Defendants’ conditions for the
    consideration of maps would impose a perverse burden. It would mean that
    Plaintiffs were required, between SB 4’s proposal and passage, to provide the Texas
    Senate with a better Republican gerrymander, even as Texas Republicans (as we
    have seen) were refusing to admit that they were seeking a Republican gerrymander.
    The Court declines to apply Defendants’ proposed test.

            Defendants’ other objections have shortcomings. Defendants seize on
    Plaintiffs’ failure to include one Republican senator’s residence in his district, but
    that is an apparent oversight that Plaintiffs easily correct in their later maps. Dkt.
    102 at 31, Dkt. 108 at 23.

           Defendants further suggest that the alternative maps would create a political
    problem for Republicans by placing Senator Sarah Eckhardt, a Democrat, in a seat
    where the incumbent Republican hopes to seek higher office, thus allowing Senator
    Eckhardt to “essentially run as the incumbent.” Dkt. 102 at 31. But as Plaintiffs
    note, their maps would leave Senator Eckhardt in a district with a sizeable
    Republican advantage, strongly suggesting that a Republican would capture the
    seat. Dkt. 108 at 22.




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             Defendants also claim that Plaintiffs “radically realign[ ] Senate districts
    from nearly end-to-end,” but their only examples are the shifting of one county
    between districts and the shifting of a district border in another county. Dkt. 102
    at 32. Even if such objections were more strongly rooted, they still would not form
    a clear basis for rejecting Plaintiffs’ alternative maps. There is no conceivable map
    that would not be subject to nitpicking on some basis. Maps may nonetheless be
    useful to show the results that would follow from hypothetical sets of priorities—
    for instance, an alternative plan could theoretically show what a legislature would
    have done if its only priority were to maximize the number of districts with more
    than a certain partisan margin.

             But even putting Defendants’ narrower objections aside, the Court does not
    find that Plaintiffs’ alternative maps reveal any discriminatory intent on
    Defendants’ part. Though differing in their details, all four of Plaintiffs’ proposed
    maps achieve their allegedly superior partisan outcome in the same way: They
    crack SD 14, a Democratic bastion located mostly in Travis County, instead of
    SD 10.

             Plaintiffs’ theory seems to be that if the legislature truly cared about
    partisanship and not race, it would have prioritized SD 14 over SD 10. The Court
    does not buy that logic. According to the Census Bureau, Travis County is about
    as diverse as Tarrant County—48.9% Anglo (Travis) to 45.3% (Tarrant), by total
    population. SD 14 itself is 51.9% minority by total population, Pls.’ Ex. 57 at 5, less
    than the 61.5% of benchmark SD 10, R. at 2:138, but still enough that cracking the
    district would produce about as clear a discriminatory effect.

           That the legislature decided to crack one and not the other thus seems to
    yield no particular inference about the role of race in redistricting or about
    partisanship’s role. If, as Plaintiffs say, cracking SD 14 would have fulfilled
    Defendants’ partisan goals just as well as cracking SD 10, then surely they would
    have cracked both districts. Indeed, because both districts have large minority
    populations and tend to elect minority-preferred Democrats, a racially motivated
    legislature might also have cracked both SD 14 and SD 10.




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           Meanwhile, it is easy to hypothesize countless legally innocuous reasons
    why the Texas Legislature may have preserved SD 14. SD 10’s recent partisan
    reversals may have made it a more obvious target. The legislature may have wanted
    SD 14 to function as a vote sink. It may have feared political fallout from destroying
    a longstanding Democratic bastion. Indeed, saving SD 14 may even have respected
    traditional redistricting criteria—Plaintiffs’ version of that district is about as
    unnaturally shaped as is the current SD 10. The Court is thus reluctant to draw any
    inference of discriminatory intent from Plaintiffs’ alternative maps.

           The Court also notes that the experts superficially differed about how much
    partisan advantage a district must have to be considered “safe”—when he analyzed
    Plaintiffs’ alternative maps, Dr. Cortina assumed that a Republican margin above
    10% was safe, R. at 5:135, but Dr. Alford vehemently rejected that position, R. at
    7:131. The Court does not perceive a factual disagreement here—political safety is
    not an either/or proposition, and it is plausible that Texas Republicans preferred
    districts that were even safer than those that would have resulted from Plaintiffs’
    alternative maps.

           This Court rejects Plaintiffs’ contentions regarding dictum in a ruling of the
    three-judge court in the preceding redistricting cycle. Plaintiffs point to the aside
    that “[t]he Legislature could have simply divided Travis County and Austin
    Democrats among five Republican districts” instead of achieving the same
    advantage by packing Hispanic voters. Perez, 253 F. Supp. 3d at 897. Rather than
    accept that blank check, Plaintiffs say, Defendants instead chose to repeat the same
    move—cracking SD 10—that a different district court had deemed intentionally
    discriminatory. See Texas Preclearance Litig., 887 F. Supp. 2d at 166. But as
    discussed above, neither decision was controlling: Texas Preclearance Litigation was
    decided under the Section 5 standard, while Perez concerned congressional, rather
    than state senate, districts.

           Moreover, even if one accepted that Senator Huffman and her staff had read
    those opinions, the Plaintiffs’ desired inference about Perez does not follow. If the
    legislature attached weight to the dictum about Travis County (even in the state
    senate context), and if cracking that county would have equally served its partisan



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    goals, it surely would have cracked SD 14. The same conclusion would follow even
    if the legislature pursued racial goals exclusively—such a legislature would have
    cracked SD 10 and SD 14, both of which are majority-minority by total population
    and elect minority-preferred Democrats.

            Plaintiffs’ desired conclusion follows only if the legislature’s primary goal
    was neither race nor politics, but rather to thumb its nose at the federal judiciary.
    That is implausible. It is far more likely that the legislature, despite the aside in
    Perez’s discussion of congressional districts, made different decisions about SD 10
    and SD 14 for some political reason.

            Thus, the Court does not agree that Plaintiffs’ alternative plans strengthen
    an inference of discriminatory intent. Plaintiffs are not required to provide maps at
    all, see Harris, 137 S. Ct. at 1479, and so their failure does not in itself prevent them
    from succeeding on the merits. But it does mean they are no closer to carrying their
    burden. Plaintiffs’ alternative maps do not meaningfully alter their likelihood of
    success on the merits.

    C. The Presumption of Legislative Good Faith

            Finally, although this Court, so far, has attempted to weigh the evidence
    presented by Plaintiffs evenly, the Court must address the fact that, in this area, the
    law puts a finger on the scale in favor of Defendants. The legislature is entitled to
    a presumption that it redistricts in good faith. See Miller, 515 U.S. at 915.

            The law is less clear, however, on exactly what the presumption of good
    faith entails. Plaintiffs aver that they have overcome the presumption by showing
    that the Texas Legislature’s stated reasons for the redrawing of SD 10—such as
    that the district needed population, or that “all of” Senator Huffman’s express
    redistricting criteria informed the decision—were not the real reasons. R. at 9:14.
    Under Plaintiffs’ theory, the presumption can be overcome even without a showing
    of racial motive—Plaintiffs need only establish that there was some undisclosed
    motive to the redistricting, even if that motive was unrelated to their claims.

            That theory has intuitive force and some precedential support.               For
    instance, Miller, 515 U.S. at 916, formulates the presumption in relation to



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    “traditional race-neutral districting principles.” When the Supreme Court has
    listed those principles, it has not included partisanship. See, e.g., Rucho, 139 S. Ct.
    at 2500. Indeed, even where the Court points out that partisan motivations may
    defeat racial-gerrymandering claims, it still treats those motivations separately from
    the “traditional” factors. See Harris, 137 S. Ct. at 1473. If partisanship is not a
    traditional redistricting criterion, and a legislature is shown to have had covert
    partisan motives as it redistricted, the reasoning goes, then it has not redistricted in
    good faith.

            Plaintiffs have put forth substantial evidence that Senator Huffman was
    particularly less than forthright in explaining why she had redrawn SD 10 as she
    had. Defendants now insist that partisanship was a major part of her motivation,
    but Senator Huffman did not give that impression on the senate floor. Of the three
    times she listed her redistricting criteria, partisanship made the list only once, at the
    September 28 committee meeting. R. at 4:112. When Senator Powell asked Senator
    Huffman which of her criteria had led to various decisions, such as the extension of
    SD 10 into several rural counties, Senator Huffman evasively (and unconvincingly)
    answered, “All of them.” R. at 4:125–26.

           Senator Huffman gave an account of her September 14 meeting with
    Senator Powell that differs significantly from the accounts of either Senator Powell
    or her staffer—Senator Huffman claimed that she looked at the maps with racial
    shading for “less than a second” before turning them over and saying, “I will not
    look at this,” while the other witnesses describe nothing of the sort. R. at 4:128. At
    the October 4 hearing, Senator Huffman insisted that SD 10 had been redrawn
    because “[the committee] believed [it] needed population.” R. at 4:125. SD 10 did
    not need population, and Senator Huffman smirked as she claimed it did.

            Senator Huffman did not rebut any of these allegations. Instead, she
    asserted legislative privilege to the fullest extent possible and therefore declined to
    answer questions about her motivation. See, e.g., R. at 7:35–36. Though courts may
    not draw negative inferences from a criminal defendant’s assertion of his Fifth
    Amendment rights, no similar constraint binds our assessment of a civil witness’s
    assertion of legislative privilege. Senator Huffman could have waived her legislative



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    privilege, just as Senator Powell did, and the Court would doubtless be better
    informed.

            This case, however, does not present the same circumstances that led a
    sister court to deem legislative privilege waived. See Singleton v. Merrill, 21-CV-
    1291, 2021 WL 5979516, at *7 (N.D. Ala. Dec. 16, 2021). Thus, in ruling on the
    assertion of privilege, this Court declined to take the same step here.14 R. at 5:152.
    Nevertheless, the Court interprets Senator Huffman’s reticence as strengthening
    the inference that her previously stated reasons for redrawing SD 10 were, at best,
    highly incomplete and, at worst, disingenuous.

          None of that, however, directly supports the proposition that Senator
    Huffman and her colleagues acted from racial motives. And so the Court finds, on
    the current state of the record, that they did not. Instead, all of the incongruities
    pointed out by Plaintiffs are consistent with a Republican legislature’s seeking to
    hide its partisan redistricting motives.

            There is even some direct evidence of such a motive. As noted, Senator
    Huffman did list partisanship as a guiding principle once, at the September 28
    committee meeting. R. at 4:112. When Senator Powell questioned her during the
    October 4 debate, Senator Huffman mentioned several times that she had viewed
    maps with “partisan shading” or “partisan numbers.” R. at 6:95–97. And Senator
    Powell at one point agreed with a Democratic colleague that her district was being
    “targeted for elimination as being a Democratic-trending district,” though Senator
    Powell also discussed race in the same colloquy. R. at 5:26–28.

            To be sure, Defendants’ current theory would mean that Senator Huffman
    and her colleagues dramatically understated the role of partisanship in their
    decisionmaking, and that nondisclosure is frustrating from the standpoint of
    governmental transparency. But “partisan motives are not the same as racial

            14  Though the Court declined to adopt the approach taken in Singleton because of
    distinguishable contexts, the Court is nonetheless concerned about the scope of state legislative
    privilege as Senator Huffman and Defendants conceive of it. State legislative privilege in this
    context raises serious questions about whether this Court (or any court) could ever accurately
    and effectively determine intent.




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    motives.” Brnovich, 141 S. Ct. at 2349. Even without applying any presumptions,
    this Court does not find that any of the Plaintiffs’ evidence is more consistent with
    racial motives than it is with exclusively partisan motives.

          To act with a primarily partisan motivation while not admitting as much
    may constitute “bad faith” in a colloquial sense. But the presumption of legislative
    good faith was articulated, and is often reaffirmed, specifically in the context of
    alleged racial motivations. See, e.g., Harris, 137 S. Ct. at 1474 n.8. Indeed, Miller
    recognized the presumption as applying to allegations of “race-based
    decisionmaking.” 515 U.S. at 915.

           Importantly, reading “good faith” too stringently creates line-drawing
    problems. As Senator Seliger, Plaintiffs’ witness, testified, legislators in Texas give
    incomplete reasons for their votes “[a]ll the time.” R. at 4:60. If that is true (and
    particularly if it is true of legislators generally), then to conclude that the
    presumption of good faith is surrendered any time legislators are less than candid
    about their motivations risks nullifying a presumption that, as the Supreme Court
    repeatedly has cautioned, is not to be treated lightly. See, e.g., Perez, 138 S. Ct. at
    2325. Thus, in litigation such as this, there are strong reasons to conclude that the
    presumption of good faith is overcome only when there is a showing that a
    legislature acted with an ulterior racial motive.

           Fortunately, deciding the motion for preliminary injunction does not
    require this Court to choose among the different possible understandings of “good
    faith” in the context of redistricting. That is because Plaintiffs would fail to show a
    likelihood of success on the merits even if there were no presumption working
    against them. Overcoming the presumption of legislative good faith would not shift
    the burden. Cf. id. at 2324 (holding that the burden cannot be shifted by a previous
    finding of discrimination).    Instead, it would mean merely that the issue of
    legislative intent would be resolved according to the ordinary civil-litigation
    standard. Plaintiffs would thus have to show that the preponderance of the
    evidence favored the conclusion that the legislature had acted with discriminatory




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    intent.15 For all the reasons stated above, this Court has determined that Plaintiffs
    are not likely able to do that.

            Plaintiffs have presented substantial evidence that at least one member of
    the Texas Senate did not fully disclose her reasons for supporting SB 4. But they
    have not presented evidence that that nondisclosure bore any connection to a racial
    motive or racial intent. Determining whether Plaintiffs have overcome the
    presumption of legislative good faith thus depends on how that presumption is
    defined. But because Plaintiffs fail regardless of whether the presumption applies,
    this Court need not, and does not, attempt to answer that unsettled question of law.

    D. Conclusion on Likelihood of Success

            Both of Plaintiffs’ theories—intentional vote dilution and racial
    gerrymandering—require them to show that the legislature acted with
    discriminatory intent. They may make that showing through circumstantial
    evidence. But after carefully reviewing the evidence presented so far, the Court
    concludes that they are unlikely to do so.

          The Arlington Heights factors do not favor Plaintiffs. Though SB 4 bears
    more heavily on Black and Hispanic voters in SD 10 than it does on Anglo voters,
    and though recent history suggests that discriminatory intent is a possibility, the
    circumstances surrounding the passage of SB 4 are uniformly innocuous, at least
    from the standpoint of discriminatory intent. Plaintiffs seek to add further
    circumstantial evidence in the form of alternative maps, but those maps are not
    persuasive. They demonstrate that there was another racially diverse, Democratic
    district that the legislature could have cracked and did not—but that fact does not
    alone suggest that race was a consideration in how SD 10 was drawn.

            Because Plaintiffs have failed to show a likelihood of success even under a
    preponderance-of-the-evidence standard, we need not consider whether their
    evidence of non-racial disingenuousness is sufficient to overcome the legislature’s


            15
               Cf. CIGNA Corp. v. Amara, 563 U.S. 421, 444 (2011) (noting that preponderance
    of the evidence is the “default [burden of proof] for civil cases”).




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    presumption of good faith. Racial and partisan considerations are difficult to
    disentangle, see Harris, 147 S. Ct. at 1473, but even without applying the
    presumption of legislative good faith, the preponderance of the evidence weighs
    against any finding that race played a role in the Texas legislature’s redrawing of
    SD 10. On the evidence currently before the Court, Plaintiffs have failed to show
    that they are likely to succeed on the merits.

    E. The Remaining Preliminary-Injunction Factors

    1. Irreparable Harm

            If Plaintiffs had shown they were likely to succeed on the merits, they would
    also have established that they were “likely to suffer irreparable harm in the absence
    of preliminary relief.” Winter, 555 U.S. at 20. That is because they allege that
    Defendants have infringed their rights under the Fourteenth and Fifteenth
    Amendments. See Dkt. 39 at 24–25, 41. Violations of those rights inflict irreparable
    injuries because “the loss of constitutional freedoms ‘for even minimal periods of
    time . . . unquestionably constitutes irreparable injury.’” BST Holdings, L.L.C. v.
    OSHA, 17 F.4th 604, 618 (5th Cir. 2021) (omission in original) (quoting Elrod v.
    Burns, 427 U.S. 347, 373 (1976)).16

           But even if Plaintiffs had not alleged constitutional injuries, they still could
    show that they would be likely to suffer an irreparable injury if their claims were
    meritorious. According to this Court’s current schedule, it will not resolve the
    merits of Plaintiffs’ claims until after the November 2022 election. Thus, even if
    Plaintiffs won on the merits and the Court ordered the “drastic remedy” of
    “[s]etting aside an election,” Rodriguez v. Bexar County, 385 F.3d 853, 859 n.2 (5th




            16
                See also 13 MOORE’S FEDERAL PRACTICE § 65.22 (3d ed.) (noting that the
    “deprivation of constitutional rights” has “ordinarily been held to be irreparable”), Lexis
    (database updated Dec. 2021); 11A CHARLES ALAN WRIGHT & ARTHUR R. MILLER,
    FEDERAL PRACTICE & PROCEDURE § 2948.1 (3d ed.) (“When an alleged deprivation of a
    constitutional right is involved . . . , most courts hold that no further showing of irreparable
    injury is necessary.”), Westlaw (database updated Apr. 2021).




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    Cir. 2004),17 they would be without properly elected representatives until a new
    election could be organized and held. Since the 88th Legislature’s regular session
    will occur between January and May 2023,18 at least some—if not all—of the
    lawmaking activity for this election cycle would likely have occurred before
    Plaintiffs’ new representative could be seated. That is an injury that cannot be
    compensated with damages, making it irreparable.

            For their part, Defendants do not seriously dispute that Plaintiffs have
    alleged irreparable injuries. Instead, they reiterate their position that Plaintiffs are
    unlikely to succeed on the merits of their claims, and Defendants say the Plaintiffs
    therefore do not face the threat of irreparable injury. Dkt. 102 at 46–47.19 Because
    the Court concludes that Plaintiffs are unlikely to succeed on the merits, it agrees
    with Defendants in some sense. But that is a conclusion based on the merits, not
    the nature of Plaintiffs’ allegation. If they had met their burden on likelihood of
    success, they would have met it here, too.

    2. The Balance of Equities and the Public Interest

           Two factors remain. An injunction may issue only if (1) it would not
    disserve the public interest and (2) the equities favor the movant. Texas v. United
    States, 809 F.3d 134, 150 (5th Cir. 2015), aff’d by an equally divided court, 579 U.S.
    547 (2016) (per curiam). Plaintiffs have not satisfied their burden on those factors.

            “[T]he balance of harm requirement . . . looks to the relative harm to both
    parties if the injunction is granted or denied.” Def. Distributed v. U.S. Dep’t of
    State, 838 F.3d 451, 459 (5th Cir. 2016). The public-interest factor looks to “the
    public consequences [of] employing the extraordinary remedy of injunction.”


            17
              Doing so can be appropriate where the election was conducted in a racially
    discriminatory manner. See Cook v. Luckett, 735 F.2d 912, 922 (5th Cir. 1984).
            18
                Texas Legislative Sessions and Years, LEGIS. REFERENCE LIBR. OF TEX.,
    http://lrl.texas.gov/sessions/sessionYears.cfm.
            19
               Defendants purport to offer one argument independently of the likelihood-of-
    success element, but that theory also contests the merits of Plaintiffs’ claims instead of the
    nature of their claimed injury. See Dkt. 102 at 46 (second paragraph).




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    Winter, 555 U.S. at 24 (quoting Weinberger v. Romero-Barcelo, 456 U.S. 305, 312
    (1982)).

            Those factors “overlap considerably,” so courts often address them
    together.20 And in the related context of interim stays, “[t]hese factors merge when
    the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).
    After all, “[w]hen a statute is enjoined, the State necessarily suffers the irreparable
    harm of denying the public interest in the enforcement of its laws,” and the State’s
    “interest and harm” thus “merge with that of the public.” Veasey v. Abbott,
    870 F.3d 387, 391 (5th Cir. 2017) (per curiam) (citing Nken, 556 U.S. at 435). The
    Court therefore considers both factors together. See, e.g., Texas, 809 F.3d at 186–
    87 (the Fifth Circuit doing the same).

           Plaintiffs contend that both factors favor them: Because the redistricting
    plan “violates Plaintiffs’ constitutional rights,” “Defendants lack any legitimate
    interest in enforcing [that] plan.” Dkt. 39 at 45. Citing Reynolds v. Sims, 377 U.S.
    533, 586–87 (1964), Plaintiffs say that this Court could enjoin the maps despite the
    then-approaching primary election, Dkt. 108 at 28. Plaintiffs do not posit that
    Defendants would suffer no harm from an injunction. But they suggest that the
    burdens of a new election would be minimal because state legislation has
    “accounted for” the possibility of a delayed election. Dkt. 108 at 29.

           Defendants reply first with Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006) (per
    curiam), in which the Supreme Court observed that enjoining an election risks
    “voter confusion” and other costs. That risk only grows “[a]s an election draws
    closer.” Id. at 5. The Fifth Circuit has applied Purcell rigorously, staying several
    injunctions during the 2020 election. Dkt. 102 at 48 (collecting cases). Moreover,
    Defendants convincingly contended that the primary elections were already
    underway as this Court heard the preliminary-injunction motion, heightening the
    relevance of Purcell’s principle. A delay, Defendants’ say, would require election
    administrators to duplicate their efforts, would increase costs (particularly for small

            20
              Texas v. United States, 524 F. Supp. 3d 598, 663 (S.D. Tex. 2021) (citing Texas,
    809 F.3d at 187).




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    counties), and would require some candidates to change where they seek office.
    Dkt. 102 at 49. It might further compromise the November 2022 general election.
    Dkt. 102 at 49. It would confuse voters. Dkt. 102 at 49. And it would “undermine
    the public’s perception of election integrity” by enhancing the risk of tabulation
    errors and other mistakes, by both voters and election officials. Dkt. 102 at 49.

            On this, the Court agrees with Defendants. “[C]ourt changes of election
    laws close in time to the election are strongly disfavored,” Tex. All. for Retired Ams.
    v. Hughs, 976 F.3d 564, 567 (5th Cir. 2020) (per curiam), and the Supreme Court
    “has repeatedly emphasized that lower federal courts should ordinarily not alter the
    election rules on the eve of an election,” Republican Nat’l Comm. v. Democratic
    Nat’l Comm., 140 S. Ct. 1205, 1207 (2020) (per curiam).21 Those principles apply
    with equal force in redistricting cases. See, e.g., Benisek v. Lamone, 138 S. Ct. 1942,
    1944–45 (2018) (citing Purcell, 549 U.S. at 4–5); Milligan, 142 S. Ct. at 879
    (Kavanaugh, J., concurring). Granting the requested injunction would flout those
    commands.

           To assess the propriety of an injunction, this Court must “weigh . . .
    considerations specific to election cases.” Purcell, 549 U.S. at 4. The caselaw
    identifies several relevant considerations. Foremost are the effects on voters and
    election administration. “Court orders affecting elections . . . can themselves result
    in voter confusion and consequent incentive to remain away from the polls.” Id.
    at 4–5. An injunction may unduly burden election officials, inflicting massive costs
    and risking mistakes or disenfranchisement. Tex. All., 976 F.3d at 568. Election
    irregularities reduce voters’ confidence in the system and diminish election
    integrity; abrupt changes thus disserve the public interest. See id. at 569. We also
    must mind the principle, oft repeated by the Fifth Circuit, that the public has a
    powerful interest in the enforcement of “duly enacted law[s].” Id. at 568.

            This Court finds that those considerations weigh strongly against an
    injunction. At the hearing, Defendants’ witnesses testified that an injunction would

            21
              See also Frank v. Walker, 574 U.S. 929 (2014) (mem.); Veasey v. Perry, 574 U.S.
    951 (2014) (mem.).




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    overload election officials and confuse and disenfranchise voters. This Court finds
    those witnesses knowledgeable, compelling, and credible, especially given that
    Plaintiffs did not attempt to rebut their testimony.

          Keith Ingram, the director of the state Elections Division, testified that the
    March primary was “underway.” R. at 7:174. He explained that county officials
    already had spent months preparing for the election. R. at 7:154. The candidate-
    filing deadline passed in December, R. at 7:159, and county officials had to program,
    proof, verify, and mail ballots to meet federal deadlines in January, R. at 7:159–61.
    Redistricting only added to those burdens. R. at 7:161–62, 164.

           Asked whether the election could feasibly be delayed, Ingram replied that a
    delay was “kind of inconceivable.” R. at 7:166. Most concerningly, Ingram testified
    that up to 100,000 voters had already submitted ballot applications. Some of those
    applications were rejected; others had been accepted, and some of those voters
    might have already cast their ballots. R. 7:166–67. Unwinding the election would
    create mass confusion: Voters who had received a ballot would not know whether
    it would count, and voters who had not received one would not know whether to
    request a new one or to await the one they had already requested. R. 7:166–67.

            Ingram began in his job in 2012, when redistricting delayed an election. R.
    at 7:151. That delay, he testified, reduced voter trust: Voters “inevitably thought”
    that moving the election “was a conspiracy on the part of the other team to jerk
    around their particular candidate.” R. 7:167. Ingram suspects the same would
    occur if this Court enjoined the redistricting maps: “It’s very corrosive to the
    authenticity and legitimacy of the process whenever you change the rules in the
    middle of the game.” R. at 7:173.

           Defendants next presented testimony from two county election
    administrators. Since 2011, Staci Decker has administered elections for Kendall
    County, a relatively small county in the Texas Hill Country. Record. R. at 8:27.
    Bruce Sherbet administers elections for Collin County, the state’s sixth largest. R.
    at 8:5–6. Sherbet has nearly fifty years of experience running elections, including
    almost twenty-five years of service as Dallas County’s election administrator. R. at




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    8:7.

          Both Decker and Sherbet testified that much of the work preparing for the
    March primary was already done. For example, Decker stated that her four-person
    team had programmed ballots, prepped ballots for mailing to voters, ordered
    supplies for the election, prepared election-day kits, and contracted for polling
    locations. R. at 8:30, 32, 43–44. An injunction would require her office to undo
    much of that work and to mail out new ballots, an expense that Decker says her
    small county office cannot afford. R. at 8:39–40, 43–44.

           Decker substantiated Ingram’s concern about voter confusion: In 2012,
    during the last court-ordered election delay, many voters in her county received
    multiple ballots, and some of them returned their ballots in the wrong envelopes,
    which caused their disqualification. R. at 8:49–50. Decker also recalled receiving
    complaints from voters who did not know when to submit their ballots. R. at 8:50.

            Sherbet explained that Collin County was struggling to implement the
    redistricting plans thanks to supply-chain snarls, new compliance obligations, two
    special elections, and serious staffing challenges. R. at 8:18–20. Asked whether
    changing the maps would be “feasible” in time for the March primary, Sherbet
    responded that any changes would be “very problematic and really confusing.” R.
    at 8:20.

           Plaintiffs offer no contrary testimony. They instead press three reasons why
    this Court should disregard Defendants’ showing. All are unconvincing.

          First, Plaintiffs suggest that Reynolds v. Sims decides this case, because there
    the Court approved a district court’s injunction of a redistricting plan despite an
    approaching election. Dkt. 108 at 28. But Reynolds is distinguishable: The
    injunction contested there issued several months before the election. See Reynolds,
    377 U.S. at 542–43. And the majority stressed that a district court “should consider
    the proximity of a forthcoming election and . . . . endeavor to avoid a disruption of
    the election process.” Id. at 585. In fact, the Reynolds Court expressly concluded
    that the injunction imposed no “great difficulty” on the State of Alabama, a finding
    that the evidence before this Court cannot support. Id. at 586.




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           But even if Reynolds might permit an injunction here, the past three decades
    of Supreme Court precedent would not. In the past three years alone, the Court
    has repeatedly intervened to stay the hand of district courts that have tried to enjoin
    elections. See, e.g., Andino v. Middleton, 141 S. Ct. 9 (2020) (mem.); Clarno v. People
    Not Politicians Oregon, 141 S. Ct. 206 (2020) (mem.); Milligan, 142 S. Ct. at 879
    (mem.). That posture is not nascent; it is decades in the making. See, e.g., Purcell,
    549 U.S. at 4–5. “[T]he only constant principle than can be discerned from the
    Supreme Court’s recent decisions . . . is that its concern about confusion resulting
    from court changes to election laws close in time to the election should carry the
    day in the stay analysis.” Veasey v. Perry, 769 F.3d 890, 897 (5th Cir. 2014)
    (Costa, J., concurring in the judgment); see also id. at 895 (majority opinion)
    (making the same point). This Court agrees.

           Second, pointing to Section 41.0075 of the Texas Election Code, Plaintiffs
    contend that Defendants already have accounted for the prospect of delay. That
    statute created three sets of election dates; which set would take effect would
    depend on the date that the Texas legislature enacted a redistricting plan. See TEX.
    ELEC. CODE § 41.0075(c)(1)–(3).

           The Court does not perceive that statute’s relevance. As Plaintiffs appear
    to acknowledge, Dkt. 108 at 29, the point of the statute was to accommodate
    legislative delays in enacting a redistricting plan. The law did not, as Plaintiffs
    suggest, “protect the state and the public’s interest in orderly elections should the
    primary be delayed” for any other reason. Dkt. 108 at 29. Once the Texas
    Legislature enacted a redistricting plan, Section 41.0075 told election
    administrators and other officials across the state which election dates would apply.
    It did not create contingencies for other delays. But even if it had, that would not
    change our analysis. Plaintiffs do not explain why or how the legislature’s
    anticipation of legal challenges to its redistricting plan would mitigate the harms of
    an injunction to the public’s interest in orderly elections when the elections are
    underway and ballots are in voters’ hands.

             Third, Plaintiffs cite the Supreme Court’s admonition that “injunctive relief
    is available in appropriate cases to block voting laws from going into effect.” Dkt.



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    108 at 30 (quoting Shelby County v. Holder, 570 U.S. 529, 537 (2013)). But that
    prompts the question whether this is an “appropriate case[ ],” and the Supreme
    Court has made clear that a preliminary injunction so close to an election is not
    appropriate.

            The core of Plaintiffs’ theory seems to be that because they have a
    meritorious claim, they meet the balance-of-harms and public-interest factors. See
    Dkt. 108 at 27–28; Dkt. 39 at 45–46. That result does not necessarily follow. Even
    if Plaintiffs were likely to succeed on the merits, the Supreme Court and the Fifth
    Circuit have stressed that a likelihood of success on the merits does not dictate who
    prevails under the balance-of-harms and public-interest prongs.22

            That is not to say that Plaintiffs cannot show, after a trial on the merits, that
    they are entitled to an injunction. But we must heed the consequences of
    preliminary relief for the March 2022 primaries. Defendants have established that
    an injunction would confuse and disenfranchise voters, leave candidates in the
    lurch, stress already overburdened election administrators, and inflict significant
    costs that would fall most heavily on the state’s smallest counties. Plaintiffs had the
    burden to overcome that showing. They have not done so.

          This Court finds that the balance of harms and the public interest favor
    Defendants. A preliminary injunction will not issue.

    F. Conclusion

            Plaintiffs have demonstrated that, absent an injunction, the injury they
    complain of would be irreparable. But they have not shown that they are likely to


            22
               The Fifth Circuit has “expressly rejected” the idea that courts must presume
    that the balance of harms favored a plaintiff who has demonstrated a likelihood of success.
    Def. Distributed, 838 F.3d at 457 (quoting S. Monorail Co. v. Robbins & Myers, Inc., 666 F.2d
    185, 188 (5th Cir. Unit B 1982)). That principle holds when plaintiffs bring constitutional
    claims. Id. at 458 (“Ordinarily, of course, the protection of constitutional rights would be
    the highest public interest at issue in a case. [But] that is not necessarily true . . . .”); see
    also Winter, 555 U.S. at 23 (holding that the district court should have denied an injunction,
    despite that court’s finding a likelihood of success on the merits, because the plaintiffs’
    injury “is outweighed by the public interest”).




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    succeed on the merits. And they have not established, as to two factors that overlap
    in this context, either that the balance of equities favors them or that granting an
    injunction would be in the public interest.

            Failure on even one prong is sufficient to conclude that a preliminary
    injunction shall not issue. See Planned Parenthood, 403 F.3d at 329. Thus, a
    preliminary injunction is inappropriate here, and this Court may not issue one.




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    IV. PLAINTIFFS’ RULE 65(a)(2) MOTION

           Plaintiffs have moved to consolidate under Federal Rule of Civil Procedure
    65(a)(2), but the Court declines to do so. Both parties made their presentations,
    and the Court evaluated them, in the context of a limited hearing. As Defendants
    point out, they were given no warning—until closing statements— that Plaintiffs
    would move to consolidate, meaning that Defendants had no opportunity to prepare
    for a hearing that would result in a final judgment. R. at 9:34. That context also
    informed several of the Court’s evidentiary rulings, most notably the decision to
    admit, without authentication, Plaintiffs’ Exhibit 102, which purports to be a log of
    private text messages.

           Moreover, it is not evident what benefit would follow from consolidation.
    This memorandum and order reflects the Court’s opinion that Plaintiffs are not
    likely to succeed on either their intentional discrimination or racial gerrymandering
    claim. Admittedly, a final determination could spare the Court from fruitless
    relitigation of those theories. But on the other hand, newly discovered evidence or
    authority could lead to the opposite outcome from the one we predict here. And
    completely redundant presentations remain unnecessary in light of Rule 65(a)(2)’s
    stipulation that, “Even when consolidation is not ordered, evidence that is received
    on the motion and that would be admissible at trial becomes part of the trial record
    and need not be repeated at trial.”

           We trust that Plaintiffs’ interest in presenting an effective case will guide
    them in deciding whether to return to the theories addressed in this order or to rest
    entirely on their as-yet untested Gingles claim. For all these reasons, we deny
    Plaintiffs’ motion to consolidate this action and to issue a final judgment.




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    V. CONCLUSION

           Plaintiffs’ motion for a preliminary injunction is DENIED for failure to
    show a likelihood of success on the merits and failure to show that the balance of
    equities and the public interest favor an injunction. Plaintiffs’ Rule 65(a)(2) motion
    to consolidate the motion into one for final judgment is also DENIED.

           SIGNED on this 4th day of May 2022.




                                           __________________________
                                           David C. Guaderrama
                                           United States District Judge
                                           Western District of Texas

                                      And on behalf of:

    Jerry E. Smith
                                                          Jeffrey V. Brown
    United States Circuit Judge
                                           -and-          United States District Judge
    U.S. Court of Appeals
                                                          Southern District of Texas
    Fifth Circuit




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